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 Mary Basile Logan
 Post Office Box 5237
 Clinton, New Jersey 08809
 Email: Trino@trinops.com


                                UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW JERSEY



 MARY BASILE LOGAN, individually and on behalf                |
 of those similarly situated, Pro-Se;                          |
                                                               |
                                Plaintiff,                     |
                                                               |
 MERRICK GARLAND, in his official capacity                    |
 Attorney General, Department of Justice;                      |
                                                               |
 LLOYD AUSTIN, III, in his official capacity as the           |
 Secretary, Department of Defense;                             |
                                                               |
 WILLIAM J. BURNS, in his official capacity as the            |
 Director, Central Intelligence Agency;                        |
                                                               |
 CHRISTOPHER A. WRAY, in his official capacity                |
 as the Director of the Federal Bureau of Investigation;       |
                                                               |
 DENIS RICHARD MCDONOUGH, in his official                     |
 capacity as Secretary of Veterans Affairs;                    |
                                                               |
 ALEJANDRO MAYORKAS, in his official capacity as              |
 Secretary, U.S. Department of Homeland Security;              |
                                                               |
 MARCIA L. FUDGE, in her former capacity as Secretary |
 U.S. Department of Housing and Urban Development;             |
                                                               |
 ROBERT CALIFF, in his capacity as Commissioner ,             |
 Food and Drug Administration;                                 |
                                                               |
 WILLIAM J. CLINTON, in his official capacity as the          |
 former President of the United States of America;             |
                                                               |
 HILLARY R. CLINTON, in her official capacity as              |
 former Secretary of State for the United States of America; |


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                                                         |
 THOMAS KEAN, Sr., in his former capacity as Chairman |
 9/11 Commission;                                        |
                                                         |
 ROBERT MUELLER, in his former capacity as Director |
 of the Federal Bureau of Investigation;                 |
                                                         |
 JAMES COMEY, in his former capacity as Director         |
 of the Federal Bureau of Investigation;                 |
                                                         |
 CHRISTOPHER J. CHRISTIE, in his capacity as the         |
 former-Governor of New Jersey;                          |
                                                         |
 RICHARD “DICK” CHENEY, in his former capacity           |
 as Vice President of the United States;                 |
                                                         |
 ELIZABETH “LIZ” CHENEY, in her former capacity          |
 as Chair, January 6 Commission;                         |
                                                         |
 JOHN KERRY, in his official capacity as U.S. Special    |
 Presidential Envoy for Climate;                         |
                                                         |
 GEORGE W. BUSH, in his former capacity as               |
 President of the United States;                         |
                                                         |
 BARACK HUSSEIN OBAMA, in his former capacity as |
 President of the United States;                         |
                                                         |
 LORETTA LYNCH, in her former capacity as                |
 United States Attorney General;                         |
                                                         |
 JAMES BAKER, in his former capacity as White House | CIVIL DOCKET: 3:24-CV-00040
 Chief of Staff;                                         | ZNQ-TJB
                                                         |
 ERIC HOLDER, in his former capacity as United States | ORAL ARGUMENT REQUESTED
 Attorney General;                                       |
                                                         |
 JOSEPH R. BIDEN, in his official capacity as President, |
 his former capacities as Vice President and Senator, of |
 these United States;                                    |
                                                         |
 JOHN ASHCROFT, in his former official capacity,         |
 as United States Attorney General;                      |
                                                         |
 JAMIE GORELICK, in her official capacity, Homeland      |
 Security Advisory Council member;                       |


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                                                            |
 NANCY PELOSI, in her official capacity as                  |
 Congresswoman (CA);                                        |
                                                            |
 GEORGE NORCROSS, in his capacity as Chairman,              |
 Cooper University Medical Systems;                         |
                                                            |
 PHILIP MURPHY, in his official capacity as Governor        |
 of New Jersey, and as former Chair of the National         |
 Governors Association (NGA);                               |
                                                            |
 TAHESHA WAY, in her former capacity as Secretary           |
 of State, as former President of the National Association |
 of Secretaries of State, and her current capacity as       |
 Lt. Governor, New Jersey;                                  |
                                                            |
 JUDITH PERSICHILLI, in her official capacity as then- |
 Commissioner of Health for the State of New Jersey;        |
                                                            |
 SEJAL HATHI, in her official capacity as Deputy            |
 Commissioner for Public Health Services;                   |
                                                            |
 MATTHEW PLATKIN, in his official capacity as               |
 Attorney General of the State of New Jersey;               |
                                                            |
 KATHY HOCHUL, in her official capacity as Governor         |
 of New York;                                               |
                                                            |
 ANDREW CUOMO, in his former capacity as Governor |
 of New York and his capacity as Vice-Chair of the National |
 Governors Association;                                     |
                                                            |
 LETITIA JAMES, in her capacity as Attorney General of |
 the State of New York;                                     |
                                                            |
 SUSAN RICE, in her official capacity as United States      |
 Domestic Policy Advisor;                                   |
                                                            |
 ADAM SCHIFF, in his official capacity as Congressman, |
 of the State of California;                                |
                                                            |
 CHARLES “CHUCK” SCHUMER, in his official                   |
 capacity as Senator for the State of New York;             |
                                                            |
 XAVIER BECERRA, in his official capacity as                |
 Secretary of Health and Human Services;                    |


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                                                            |
 JANET YELLEN, in her official as Secretary of              |
 the United States Treasury;                                |
                                                            |
 ROD ROSENSTEIN, in his former capacity as United           |
 States Deputy Attorney General;                            |
                                                            |
 HUMA ABEDIN, in her former capacity as vice                |
 Chair of Hillary Clinton;                                  |
                                                            |
 DEBBIE WASSERMAN SCHULTZ, in her current                   |
 capacity as U.S. Representative, (FL-25);                  |
                                                            |
 BILL NELSON, in his official capacity as Administrator     |
 of NASA;                                                   |
                                                            |
 OCCIDENTAL PETROLEUM;                                      |
                                                            |
 UNITED HEALTHCARE;                                         |
                                                            |
 DEMOCRATIC NATIONAL COMMITTEE;                             |
                                                            |
 REPUBLICAN NATIONAL COMMITTEE;                             |
                                                            |
 JAMES PITTINGER, in his official capacity as Mayor         |
 of Lebanon Borough, State of New Jersey;                   |
                                                            |
 LISA SELLA, in her official capacity as Deputy Clerk,      |
 Lebanon Borough, State of New Jersey;                      |
                                                            |
 ROBERT JUNGE, in his official capacity as Municipal        |
 Co-Chair, Republican Party, Lebanon Borough, State of      |
 New Jersey;                                                |
                                                            |
 JOHN DOES (1-100)                                          |
                                                            |
 JANE DOES (1-100)                                          |
                   Defendants.                              |
 ________________________________________________

     PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION HEARING DATE,
      PRELIMINARY INJUNCTION, AND PERMANENT RESTRAINING ORDER




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          Plaintiff, Mary Basile Logan, respectfully moves this Court for a preliminary injunction

 as set forth below and for the reasons set out in the accompanying Brief in Support of Plaintiff’s

 Motion for Preliminary Injunction Hearing Date and Permanent Restraining Order. Fed. R. Civ.

 P. 65(a). Because there are only legal questions at issue, Plaintiff respectfully requests that this

 Court consolidate the preliminary injunction hearing with the trial on the merits and rule on the

 merits in accordance with Fed. R. Civ. P. 65(a)(2).

          WHEREFORE, Plaintiff respectfully request the Court grant their Motion and issue a

 preliminary injunction pending a decision on the merits of Plaintiff’s claims in this matter.



 Dated:          August 30, 2024

 Respectfully submitted,

 /s/ Mary B. Logan

 Mary B. Logan
 Plaintiff, Pro-Se
 Post Office Box 5237
 Clinton, New Jersey 08809




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 Mary Basile Logan
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 Clinton, New Jersey 08809
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                             UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW JERSEY


 _______________________________________________

 MARY BASILE LOGAN, individually and on behalf   |
 of those similarly situated, Pro-Se;            |
                                                 |
                            Plaintiff,           |
                                                 |
 MERRICK GARLAND, in his official capacity       |
 Attorney General, Department of Justice; et al. |
                                                 | CIVIL DOCKET: 3:24-CV-00040
                            Defendants.          |       ZNQ-TJB
                                                 |
 ________________________________________________ ORAL ARGUMENT REQUESTED



                      OPENING BRIEF IN SUPPORT OF
     PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION HEARING DATE,
      PRELIMINARY INJUNCTION, AND PERMANENT RESTRAINING ORDER




 Mary Basile Logan
 Plaintiff, Pro-Se
 Post Office Box 5237
 Clinton, New Jersey 08809
 (908) 200-7294
 Email: Trino@trinops.com


 Dated: August 30, 2024




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                       NATURE AND STAGE OF THE PROCEEDINGS

        1.      On January 4, 2024, Plaintiff filed this lawsuit alleging that Defendants’ collective

 actions, moving as co-conspirators to meet their ends, manifest in events abhorrent to the Constitution

 and to the inalienable Rights of the Plaintiff each taken under the color of law, depriving her of rights,

 privileges, or immunities in violation of 42 U.S.C. § 1983, the First and Fourteenth Amendments to

 the Constitution, and the Equal Protections Clause. Plaintiff now moves for a preliminary injunction.

 Plaintiff states that notice to the adversarial party and not perfected formal service is needed to assert

 jurisdiction to issue an injunction (Whirlpool Corp. v. Shenzhen Sanlida Elec. Tech. Co., Ltd., Case

 No. 22-40376 (5th Cir. Aug. 25, 2023) (Barksdale, Southwick, Higginson, JJ.)) Plaintiff restates the

 inclusive claims as set forth in the amended complaint and supplemental submissions with Exhibits so

 accompanying ECF 45; 45-1; 45-2; 45-3; 45-4; 45-5; 45-6; 45-7; 45-8; 45-9; 45-10; 45-11; 45-12; 45-

 13; 45-14; 45-15; 45-16; 45-17; 45-18; 45-19; 45-20; 45-21; 45-21; 45-22; 56; 46; 46-1; 46-2; 55; 55-

 1; 55-2; 55-3; 55-4; 55-5; 73; 73-1; 73-2; 73-3; 73-4; 73-5; 73-6; 73-7, and 73-8 in support of the

 certified statements of harm herein.

        2.      The foregoing Defendants MERRICK GARLAND, LLOYD AUSTIN, WILLIAM J.

 BURNS, CHRISTOPHER A. WRAY, DENIS MCDONOUGH, ALEJANDRO MAYORKAS,

 MARCIA FUDGE, ROBERT CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON,

 THOMAS KEAN SR., ROBERT MUELLER, JAMES COMEY, RICHARD “DICK” CHENEY,

 ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W. BUSH, BARACK HUSSEIN OBAMA,

 LORETTA LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R. BIDEN, JOHN ASHCROFT,

 JAIME GORELICK, NANCY PELOSI, GEORGE NORCROSS, KATHY HOCHUL, ANDREW

 CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF, CHARLES “CHUCK” SCHUMER,

 XAVIER BECERRA, JANET YELLEN, ROD ROSENSTEIN, HUMA ABEDIN, DEBBIE



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 WASSERMAN SCHULTZ, BILL NELSON, OCCIDENTAL PETROLEUM, UNITED

 HEALTHCARE, the DEMOCRATIC NATIONAL COMMITTEE, the REPUBLICAN NATIONAL

 COMMITTEE, DEBBIE WASSERMAN SCHULTZ; JAMES PITTINGER, LISA SELLA;

 CHRISTOPHER J. CHRISTIE, PHILIP D. MURPHY, TAHESHA WAY, JUDITH PERSICHILLI,

 SEJAL HATHI, MATTHEW PLATKIN and ROBERT JUNGE, hereinafter referred to as “inclusive

 Defendants” overtly labored to exact a predetermined outcome at the expense of Plaintiffs’ sovereign

 Rights as set forth below, inclusive of harms.

        3.      Title 18 § 245(b)(1)(A) of the U.S. Code addresses election interference by force or

 threats. Title 18 § 245(1)(A) imposes penalties on whoever “by force or threat of force willfully

 injures, intimidates or interferes with, or attempts to injure, intimidate or interfere with any person

 because he is or has been, or in order to intimidate such person or any other person or any class of

 persons from” voting or participating in other election activities. Title 18 § 245 (a)(1) requires the

 Attorney General, the Deputy Attorney General, the Associate Attorney General, or a specially

 designated Assistant Attorney General to certify that federal prosecution of a case under Section

 245(b)(1)(A) is in the public interest and necessary to secure substantial justice.

        4.      Article 1, Section 4, cl. 1 of the U.S. Constitution, known as the Elections Clause,

 protects States from Federal overreach in and among sovereign election end-to-end infrastructure.

        5.      Plaintiff states that her Civil Rights have been violated and will, with the pending

 election in November; these violations are born of an exacting hand an unlawful trespass of her Rights

 under Article 1, Section 4, cl. 1 by the Department of Justice, the Department of Homeland Security,

 and the Executive of these United States; by name, these individual persons, under color of law

 include Defendants, MERRICK GARLAND, ALEXANDRO MAYORKAS and JOSEPH R. BIDEN

 and or his designee, including Kamala Harris in her capacity as Vice President.



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           6.   The claim of genocide under 18 U.S.C. § 1091(a)(2)(3)(4)(5)(6)(d); Plaintiff claims

 basic offense in time of peace and with the specific intent to destroy, in whole or in substantial part, a

 national, ethnic, racial, or religious group; intent of causing serious bodily injury to members of the

 group; subject the group to conditions of life that are intended to cause the physical destruction of the

 group in whole or in part; imposes measures intended to prevent births within the group; or transfers

 by force children of the group to another group; (d) attempted conspiracy, any person who attempts or

 conspires to commit an offense under this section shall be punished in the same manner as a person

 who completes the offense.

           7.   The claim of crimes against humanity, S. 1346; peonage, involuntary servitude;

 trafficking persons; sex trafficking of children; extermination; measures intended to prevent births as

 part of a widespread and systematic attack against the civilian population, with foreknowledge of the

 attack.

           8.   The claim of treason, 18 U.S.C. § 2381; whoever, owing allegiance to the United

 States, levies war against them or adheres to their enemies, giving them aid and comfort within the

 United States and/or elsewhere, is guilty of treason and shall suffer death, or shall be imprisoned not

 less than five (5) years, and fined under this title but not less than $10,000.00; and shall be incapable

 of holding any office in the United States.

           9.   Plaintiff seeks the Honorable Court’s consent to add LISA MONACO, MICROSOFT,

 BILL GATES, WARREN BUFFETT, MIKE PENCE, CRESCENT CAPITAL, KAMALA HARRIS,

 MITT ROMNEY, HARVARD ENDOWMENT, JEREMY B. BASH, DICK DURBIN, GAVIN

 NEWSOM, GRANT VERSTANDIG, et al. as named Defendants to this action, and the removal of the

 REPUBLICAN NATIONAL COMMITTEE citing the findings and evidenced herein.




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        10.     Plaintiff analyzed the Congressional General Accountability Office reports from

 March, 2024 – June 2024, same providing standard benchmarks of government recommendations and

 improvements. Without exception, not one of the Administration’s Departments or inclusive GAO

 oversight areas were acted upon. Adding insult to injury are the Administration’s blatant gross

 dereliction including the border-crossing crisis gravely impacting communities across the Nation,

 heightened foreign wars and conflict fostered by the President and Vice President’s actions or lack

 thereof, and domestic protests at collegiate venues with threats of further public health crises; Plaintiff

 states that the Defendant, JOSEPH R. BIDEN and KAMALA HARRIS are knowingly subverting

 these United States.

        11.     On May 20, 2024, Plaintiff filed Notice of Motion for Injunctive Relief and Request

 for Temporary Restraining Order, receiving confirmation of Motion hearing date of June 17, 2024;

 countering each of the Defendant’s Motions of Opposition, to date not action has been taken.

        12.     Plaintiff continues her pursuit of service to Defendants and has, under separate cover

 updated the Honorable Court in such action on August 2, 2024, thereafter, receiving from the

 Honorable Court and extension of Service through October 2, 2024.

                                        STATEMENT OF CLAIMS

        13.     In 1977, Bank of Credit and Commerce International (“BCCI”) amassed

 multiplying layers of entities, related to one another through an impenetrable series of holding

 companies, affiliates, subsidiaries, banks-within-banks, insider dealings and nominee

 relationships. By fracturing corporate structure, record keeping, regulatory review, and audits,

 the complex BCCI family of entities created by Abedi was able to evade ordinary legal

 restrictions on the movement of capital and goods as a matter of daily practice and routine. In

 creating BCCI as a vehicle fundamentally free of government control, Abedi developed in BCCI



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 an ideal mechanism for facilitating illicit activity by others, including such activity by officials of

 many of the governments whose laws BCCI was breaking.

        14.     BCCI's criminality included fraud by BCCI and BCCI customers involving

 billions of dollars; money laundering in Europe, Africa, Asia, and the Americas; BCCI's bribery

 of officials in most of those locations; support of terrorism, arms trafficking, and the sale of

 nuclear technologies; management of prostitution; the commission and facilitation of income tax

 evasion, smuggling, and illegal immigration; illicit purchases of banks and real estate; and a

 panoply of financial crimes limited only by the imagination of its officers and customers.

        15.     Among BCCI's principal mechanisms for committing crimes were its use of shell

 corporations and bank confidentiality and secrecy havens; layering of its corporate structure; its

 use affront-men and nominees, guarantees and buy-back arrangements; back-to-back financial

 documentation among BCCI controlled entities, kickbacks and bribes, the intimidation of

 witnesses, and the retention of well-placed insiders to discourage governmental action.

        16.     Plaintiff states that immediately following the closure of the BCCI investigation,

 Pakistan and the United Arab Emirates in the company of member-states including those within

 the Gulf Cooperation Council (“GCC”), colluded in and among the inclusive Defendants to

 reinvigorate the BCCI structures, (See ECF Doc. 45-1; 45-2), inclusive of criminal conduct,

 monetary fraud and defrauding the government through deceit, craft or trickery, human depravity

 and trafficking in persons and organs, violations of banking and insurance statutes, and, from the

 words of the subject investigation have “the records of BCCI's criminal activity constitute an

 accounting and legal nightmare, and a full record of what actually took place is unlikely to be

 reconstructed. BCCI's multiplicity of locations, layered corporate structure, front-companies,

 front-men, its willingness from the top down to falsify information, and its pervasive disregard



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 for the national laws of each country it operated in, combined to create a culture of criminality

 within the bank so massive as to defy investigation” (See: Doc. 45-1, p.44).

        17.     Plaintiff states that the inclusive Defendants have levied a war, silent to the naked

 ear though it may be, a war none the less, against the United States while giving aid and comfort

 to enemies of the United States. The intent of subterfuge with such foreign nation-states has

 today affirmed ownership of real property, fraudulent corporate structures, raw land and farming,

 holding office under pretense of allegiance and creation of a two-Nation structure within the

 United States; one expressly holding to that of the Constitution and the triune Founding

 documents; the other holding to foreign allegiances with the ultimate intent to extinguish the

 Constitution, altogether. The foregoing malevolent actions intent of permanently affixing the

 sovereign lands and every Created attaching to the freedoms informed by God, Almighty, so too

 affixed to the United Arab Emirates.

        18.     Plaintiff states that the inclusive Defendants intent of subversion of these United

 States by force and trickery, among an actual assemblage of men and women for the purpose of

 executing treasonable design secured for themselves by capacity of influence on domestic policy,

 whether appointed or elected, the inclusive Defendants’ allegiance was never to that of the

 United States. Once capacity was secured, immediate action was taken so as to impair the

 Constitution cohesion and diminish its strength, sanctioning domestic defenselessness in

 collaboration with extraneous parties acting through opaque venue who, collectively move in

 tandem as a planning body to delivery on the realization of “Project Destiny”, their manifesto of

 traitorous, treasonous actions.

        19.     Plaintiff states that the recurrence of criminality as evidenced by the inclusive

 Defendants, so too the ongoing subversive history including that of United States v. German-



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 American Vocational League, 153 F.2d 860 (3d Cir. 1946); Cramer v. United States, 325 U.S. 1

 (1945); Schenck v. United States, 249 U.S. 47 (1919); are interrelated cases from the standpoint

 of foundational ethos, not dissimilar to that of ENRON and WorldCom, in fact, were incremental

 steps towards the threshold in which the United States today has found station by their collective,

 malicious hands. Each of the subject investigations have minutia of unique nature based on the

 perspective of the investigators so associated, the lens of the investigation, if the Honorable

 Court will consider. Plaintiff states that the inclusive Defendants and their co-colluders,

 inclusive of foreign nation-states, are quite adept at skirting the law which has resulted in the

 continuum, unabated to the present day. Plaintiff makes no allowance and no negotiation for

 mitigating factors or otherwise, the present circumstances in which the United States finds itself

 is born of the history of treasonous actions including that of the inclusive Defendants affirming

 undiminished malevolent intent and determinative to their ends of “Project Destiny” in

 extinguishing these United States.

        20.     Plaintiff states the inclusive Defendants colluded together to formulate statutes,

 later codified so as to restrict the sovereign Rights of the Constitution, Bill of Rights and

 Declaration of Independence belonging to the People in fortification of their manifesto to subvert

 the United States from within. The Judicial record reflects that the inclusive Defendants,

 themselves, declared the imperative regarding these Rights be upheld by way of an extraordinary

 body of federal pleadings by their authorship in the interest of “Project Destiny” in the company

 of their designees, third-party actors, NGO’s, in advance and subsequent to the 2020 federal

 election, with such sovereign Rights presently under siege by their knowing hands and those of

 their designation as presented herein.




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         21.      At the time of this writing the Secretary of State of New Jersey, serving a dual

 role as Lieutenant Governor, Defendant TAHESHA WAY, never having been elected to any

 capacity but rather appointed, is preparing for the federal election, scheduled November 5, 2024;

 the same holds true of the inclusive states that comprise the United States. Ms. Way and her

 peers will follow directive from federal statute in accordance with the infrastructure designed

 under the Sector Specific Agency (“SSA”), as set forth in federal policy by then-Secretary,

 Department of Homeland Security (“DHS”), Jeh Johnson. The policy was adopted into the

 Department of Justice (“DOJ”), incorporating elections in and among the existing 16-Subsectors

 of protected assets. The codified protections were further emphasized by Defendant, JOSEPH R.

 BIDEN in the Executive Memorandum of July 28, 2021, entitled, “National Security

 Memorandum on Improving Cybersecurity for Critical Infrastructure Control Systems.” 1

         22.      The National Security Memorandum on Improving Cybersecurity for Critical

 Infrastructure Control Systems details the federal codified work-around, removing the guardrail

 between federal parties and designees to permeate state and local elections, poll worker

 volunteers full trained, the federal parties and designees employing cybersecurity measures as

 guise to erode Constitutional mandate of protection permitting their unlawful traverse into

 federally protected elections.

         23.      The Help America Vote Act (“HAVA”), enacted by Defendant, GEORGE W.

 BUSH in 2002, introduced broadly affirmed and affixed computer infrastructure systems into

 federal, state and local elections.




 1
   Biden, Joseph R. National Security Memorandum on Improving Cybersecurity for Critical Infrastructure Control
 Systems. July 28, 2021. Accessed April 27, 2024. https://www.whitehouse.gov/briefing-room/statements-
 releases/2021/07/28/national-security-memorandum-on-improving-cybersecurity-for-critical-infrastructure-control-
 systems/

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        24.     The United States Election Assistance Commission System Security Plan requires

 Center for Internet Security (“CIS”) configuration settings for Windows 10 Workstations. On

 December 15, 2020, Inspector General Layfield issued the final report for FY2020 U.S. Election

 Assistance Commission Compliance with the Requirements of the Federal Information Security

 Modernization Act (Assignment No. 1-PA-EAC-02-20) Chairman Hovland of the US EAC

 issued. The subject report moved on the issuance of an Authorization to Operate (ATO) for the

 Microsoft Azure implementation. Microsoft, (“MS”) the authorized federal contractor, serving

 as the designated sole conduit software portal accessed by each of the inclusive third party

 election vendor/contractors (Hart InterCivic/ES&S/Dominion, etc.); the vendor/contractor’s

 equipment interfaces through the Microsoft Azure portal, completing the build-out of framework

 for the United States elections infrastructure, each facet having autonomous, statutory tests and

 comprehensive protective guardrails as provided for by the National Security Memorandum on

 Improving Cybersecurity for Critical Infrastructure Control Systems. Multiple nation-states apart

 from the United States, interface on the same Microsoft Azure platform, including the United

 Arab Emirates, Kenya and Tokyo, the latter via multinational corporation, Hitachi, Palantir and

 Coca-Cola, among others.

        25.     Plaintiff states that Nikola Tesla (“Tesla”) was born on July 10, 1856, in Smiljan,

 Opcina Gospic, Lika-Senj County, Croatia having immigrated to New York under pretense of

 collaborative work with Thomas Edison in the field of electrical and mechanical engineering.

 Tesla developed polyphase alternating current system of generators, motors and transformers,

 holding 40 basic United States patents on the aforementioned system, a body of patents which he

 continued to amass through experiment and formulation up to his untimely passing. Tesla’s

 discoveries in the area of rotating magnetic field, a fundamental principle in physics and the



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 basis of nearly all devices that use alternating current, brilliantly adapting the rotating magnetic

 field for the construction of alternating current induction motor, and the polyphase system for the

 generation, transmission, distribution and use of electrical power. The magnanimous body of

 Tesla’s IP in this central thesis to this imperative application before the Honorable Court which,

 as facts provide, were stolen, knowingly manipulated and unlawfully articulated – plagiarized by

 a broad expanse of persons and entities both within the United States and abroad; weaponized

 against humankind, God’s creation, a manifesto of dual intent; 1) generate private and corporate

 wealth so as to fortify an undercurrent manifest into a nuclear weapon waged against all of

 human Creation, and 2)besmirch, dismiss, deceive and subvert the expression of God’s hand on

 His Createds, each unique in expression with innate gifts – intelligent design to fortify scientific

 supplanted evolutional theory buttressed by intellectual academia severing independent thought

 informed by God to that of dependency on concepts, industry and commercialism born of their

 hands. The latter actions with the sole intent of evisceration of holistic well-being, evicting the

 essence of humanness, the Holy Spirit which dwells in all of Creation, without exception, by

 design expression and that which science cannot manufacture, formulate or replicate; facts which

 the inclusive Defendants’ own actions herein evidence.

                     SPECIFIC STATEMENT CLAIMS – BCCI RECONVENED

        26.     Plaintiff states that immediately following the BCCI investigation, the CIA, FBI

 and other, as yet unnamed, governmental organizations reconvened continuing their permeation

 of these United States, presently in all governmental venues to advance the structured wealth

 building apart from interests of the Nation. The duality of the structures aforementioned,

 personify the architecture of two distinct constitutes; one holding to the United States triune

 Founding documents, the other holding to Sharia Law, either by way of fiscal holding pass-



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 through or, as facts provide with registration having been transferred, direct fiscal attachment.

 The subject Complaint and Motion for Injunctive Relief provides specific examples under each

 subheading, as below.

                     MULTINATIONAL MAPPING AND SHELL CORPORATIONS

        27.      The Carlyle Group (est. 1987), multinational private equity firm, Chairman

 remain as the founders including David Rubinstein arriving through appointment by the Carter

 Administration, the former President being a principal party within the BCCI Affair, undoubtedly

 an orchestrated appointment on his part. William E. Conway Jr., from MCI Communications

 which was subject of federal investigations in association with WorldCom (EXHIBIT 1

 “WORLDCOM/MCI MERGER – DOJ”).

        28.      Carlyle Group negotiation by Prince Al-Waled bin Talal, Saudi Royal Family,

 $500m, 1991, in Citigroup. Incomplete thought (BCCI). On September 11, 2001, a tragic day

 which resulted in the untimely death of 2,977 innocent victims and the honorable heroes who ran

 towards danger for the sole intent of touching another human hand and bringing them to safety;

 on that day, George Scherff Jr., aka George H. W. Bush met with Shafiq bin Laden, the guest of

 honor at the subject meeting. The foregoing meeting referenced in Plaintiff’s pleadings (See:

 ECF Doc. 45).

        29.      Crescent Capital Group (est. 1991), global alternative investment firm, formed

 from Drexel Burnham Lambert, Mark Attanasio, Robert Beyer, Jean-Marc Champus; Drexel, et

 al., was “forced” into bankruptcy due to Michael Milken fraud. Drexel, et al. was a consultant to

 BCCI (See: ECF Doc. 45-1, p. 160; 430; 490). Plaintiff states that the bankruptcy above was a

 result of the Tesla fracture, an unresolvable event which occurs within structured embodiments

 and corporations as they meet demise in viability. Plaintiff states that the same year that



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 Crescent was established 1991, the same year that the investigation began on BCCI, not

 coincidence but rather malevolent intent of replication, a structured Xerox.

        30.      Crescent formed multiple corporate structures throughout the United States

 between 1978 – 2003, each having a unique mapping of interconnected corporate subsidiaries

 and affiliates, intention deceitful in formation, appearing as independent entities, while in fact

 they are interconnected as are the Boards of Directors, etc. Each such incantation specifically

 designed, integrated within established communities so as to influence and engineer social

 change at the foundational level of public and private life.

        31.      Plaintiff focused on the corporate name Crescent which is used broadly in and

 among registrant records, findings provide that these are not disassociated entities despite

 variation of the name and vocation designation. Example: Capital Corporation (est. July 27,

 1978), sharing affiliation with Crescent City Foods (est. October 26, 1983), Jefferson Parish,

 Louisiana; owners Douglas A. Ash; George A. Rosenbaum, and Robert Himebrook. Below is a

 vignette of structured scaffolding associated with two of the individual business owners, Douglas

 A. Ash, and George A. Rosenbaum.

             Douglas A. Ash, Chief Tech/Sci/R&D Officer – Lockheed Martin Global Training/
              Logistics Officer. – NO DATES PROVIDED OR OF RECORD. Triad Isotopes, Inc.
              – Chief Tech/Sci/R&D Officer. (November 10, 2013) Crescent Capital.

             In 2007, Covidien was formed when Tyco International spun off as an independent
              healthcare business. In 2012, Newport Medical Instruments, a modest ventilator
              provider and manufacturer purchased Covidien. In 2006, Newport Medical contract
              with the U.S. Department of Health and Human Services’ Biomedical Advanced
              Research and Development Authority to design a cheap, portable ventilator. In 2015,
              Covidien was purchased by Medtronic, Dublin Ireland.

             On September 2, 2008 Lockheed Martin executes Contract to support newly
              introduced NIH organization; Office of Portfolio Analysis and Strategic Initiatives
              (OPASI); methods and information to manage their complex scientific portfolios in
              the areas of emerging scientific opportunities or public health challenges. Lockheed
              Martin contracted to work side-by-side with NIH staff to design, develop and

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           maintain Web sites and databases; provide program evaluation and analysis; manage
           projects; and formulate standards and policies.

          2010, Triad Isotopes, Inc. acquired radiopharmacy network owned by Covidien,
           Dublin, Ireland; through this acquisition. Triad acquired 37 Mallinckrodt
           radiopharmacies located in the United States with 24-locations in 30 metropolitan
           areas within the United States. The corporate footprint attaching to the medicinal
           venue and fields of cardiology and cancer diagnostics; investment thesis central to
           opportunities in nuclear medicine. “Cyclotrons are utilized to produce FDG
           (fluorodeoxyglucose) short-lived positron-emitting isotope suitable for PET
           (FRACTURED) (Positron Emission Tomography), an imaging technology used to
           assess tissue biochemistry.” The acquisition was facilitated by Parthenon Global
           Payments; Parthenon Capital Partners.

          Global Payments also holds foreign registrations, holdings in UK and New Zealand
           through affiliate, NZ Business Solutions Ltd. The Governing Board is comprised of
           corporate governance and a Board of Directors, all retired executives with the
           exception of Silver Lake, Joe Osnoss. Galon Jowers, President of Global Payments’
           Issuer Solutions, also serving on the Board of Director for China UnionPay Data
           Services, Ltd. (CUP Data), a joint venture with China UnionPay (CUP).

          In 2017, Christopher Justice of Global Payment Gaming Solutions, launched VIP
           mobility app wagering account system.

          February 13, 2023, Parthenon Capital private equity, facilitator for Triad, above,
           acquired Global Payments, Gaming Solutions division, following the acquisition,
           Parthenon spun-off as Pavilion Payments as a stand-alone for gaming. Since 2023,
           Pavilion Payment Gaming Services has become the principal vendor resource of
           casinos nationwide. The inclusive Pavilion Payment organizations are foreign
           registered with Global Payments remaining the principal parent company.

          In April, 2024, Christopher Justice stepped down as CEO and the company retained
           Dan Connor, formerly with ScentAir, and serving as interim Rhode Island Housing
           Secretary (Source: Providence Journal, July 17, 2024). A private interview a matter
           of public criminal record.

          In 2013, Covidien lost bid to toss lawsuit over Mallinckrodt spin-off, “Medtronic plc
           subsidiary Covidien must face a broad bankruptcy court lawsuit accusing the medical
           device company of unfairly profiting billions from 2013 spin-off of opioid
           manufacturer Mallinckrodt Plc…Chapter 11 trust set up for Mallinckrodt creditors
           has carried its burden to advance the bulk of a 2022 lawsuit against Covidien.”
           (Source: Bankruptcylaw.org)

          Triad Isotopes, Inc. Domenic Meffe, owner and former CEO of CuraScipt formed
           Triad Isotopes, Inc. (est. January 16, 2007). Disclosed at a City Council meeting
           presented to create 30-jobs over three years with an average salary of $120,000, Triad

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           had secured $100m in venture capital to acquire and build a network of nuclear-
           medicine pharmacies to produce and distribute radiopharmaceuticals for diagnostic
           imaging in clinics and hospitals. The company had closed a deal to acquire three
           nuclear-pharmacy companies; Coastal Pharmacy Services (Daytona Beach);
           Diversified Pharmacy Group (Macon, Georgia); and Cox Nuclear Pharmacy (Mobile,
           Alabama).

           Meffe helped bring CuraScript to Orlando (est. 2000), serving as its CEO and
           building a successful work force of 2,000 people. CuraScript was sold in 2003 to
           Express Scripts Inc. (2004) in St. Louis, Missouri.

           May, 2021 - Co-Founder of CuraScipt, Don Howard, retained by Express Scripts
           upon merger in 2004, formed Tespo Health, digital healthcare company with Ted
           Mills. Howard co-founded AcariaHealth, a division of Envolve Pharmacy Solutions
           which sold to Centene Corporation, retaining Howard as CEO of the combined
           organizations. The technology “utilizes a proprietary app and consumer centered data
           to sync the users’ smart devices to monitor health goals and medical adherence. It
           provides the foundation for future products on the horizon, aimed at improving
           compliance and patient outcomes.” (Source: Tespohealth.com)

       2024, Centene Corporation, as above, Board of Directors;

           o   Frederick H. Eppinger - Hanover Insurance;
           o   Jessica L. Blume – Deloitte LLP (ret);
           o   Kenneth A. Burdick – WellCare HealthPlans (ret);
           o   H. James Dallas – Medtronic plc (ret);
           o   Christopher J. Coughlin – Tyco International, Inc. (ret);
           o   Wayne S. DeVeydt – Antem, Inc. (ret);
           o   Monte E. Ford – American Airlines (ret);
           o   Thomas R. Greco – Frito-Lay N.A. (ret);
           o   Sarah M. London – CEO Centene;
           o   Lori J. Robinson – USAF (ret);
           o   Theordore R. Samuels – Capital Guadian Trust Co. (ret).

          Newport Medical Instruments had three working prototypes produces, and was on
           schedule to file for market approval in late 2013. Covidien then effectively halted the
           project, subsequently exiting the contract, citing the reason that it was not profitable
           enough due to significant design flaws. Governmental officials and other medical
           equipment suppliers suspected that the Newport acquisition was largely done to
           prevent a cheaper product from undermining Covidien’s existing ventilator business.
           The foregoing actions contributed to the shortage of ventilators during the COVID-19
           pandemic.

          In October, 2013, Covidien was sold to Confluent Surgical product line for $235m to
           Integra Lifescience, including its DuraSeal, VascuSeal, and SprayShield products. In
           January, 2014, Covidien acquired WEM Electronic Equipment, a Brazilian company,

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           in that same year, Covidien agreed to be acquired by Medtronic for $42.9 billion.
           Upon completion of the acquisition, Covidien, by acquisition, became a competitor of
           Johnson & Johnson.

          Medtronic plc, Minneapolis, Minnesota with legal headquarters retained in Ireland
           citing the Covidien corporate relationship, affirmed in 2015. Medtronic (est. 1949)
           by Earl Bakken and Palmer Hermundslie as a medical equipment repair shop; Bakken
           invented several medical technology devices, through the market promotion of his
           concepts, he became acquainted with C. Walton Lillehei, a heart surgeon at the
           University of Minnesota Medical School. From the foregoing relationship, the
           Bakken designed battery-powered pacemaker with transistorized metronome design
           and first external battery-powered pacemaker originated; over time and product
           evolution, an implantable pacemaker was introduced in 1960. In 1997, Medtronic
           opened a production site for implantable pacemakers and brain pacemakers in
           Tolochenaz, Switzerland, the site produces one in five of the pacemakers implanted
           globally today and is a European venue for training doctors.

          In 1998, Medtronic acquired Physio-Control for $538m and in 2014, Integra
           Lifesciences announced it was acquiring instrumentation from Medtronic for $60m
           which infaces within the corporate historicity, as noted above. Among the
           instrumentation transacted was Medtronic’s MicroFrance and Xomed manual ENT
           and laparoscopic surgical instruments, as well as a manufacturing facility in France.

       Acquisition by date:
          o February, 2016 – Acquired Bellco from private equity firm Charme Capital
              Partners.
          o June, 2016 – Acquired HeartWare International for $1.1 billion.
          o December, 2017 – Medtronic acquired Crospon in €38m.
          o September, 2018 – Acquired Mazor Robotics for $1.4 billion.
          o November, 2018 – Medtronic acquired Nutrino Health Ltd.
          o May, 2019 – Medtronic acquired Titan Spine (titanium spine implants).
          o CEO, Omar Ishrak (Former INTEL Chairman) retired in April 2020, remaining as
              Executive Chairman and Chairman of the Board until December, 2020, succeeded
              by Geoff Martha. Omar would join Amgen biotech having a venue of focus on
              microarchitecture RDNA, and genetic engineering.
          o January, 2020 – Announced intent to acquire Stimgenics, LLC, differential target
              therapies, multiplexed, spinal cord stimulation.
          o July, 2020 – Medtronic announced it would acquire Companion Medical,
              manufacturer of smart insulin pen systems with adaptive diabetes management
              app.
          o September, 2020 – Medtronic acquired Avenu Medical, undisclosed sum.

          In February, 2021, the company recalled its HeartWare Ventricular Assist Device. In
           June, 2021, the controller ports were pulled from the market and, on June 3, 2021, the
           FDA alerted physicians to stop new implants of the HVAD system due to “an



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           increased risk of neurological adverse events and mortality associated with the
           internal pump.”

           o January, 2022 – Announced intent to acquire Affera, Inc.
           o March, 2022 – Medtronic announced contact with Vizient, focused on
             laparoscopic and robotic scopes and is an AI-powered video management and
             analytics platform for the operating room.
           o May, 2022, Medtronic and DaVita, Inc. announced plan to form a new
             independent kidney care-focused medical device company, Medtronic’s Renal
             Care Solutions.

          George A. Rosenbaum, the one of the three original founders of Crescent City Foods,
           shared an association with RSM U.S. LLP, global accounting first in 81 offices
           Nationwide, Canada, India and El Salvador.. RSM began as H&R Block, separating
           in 2011, being renamed as McGladrey LLP and, thereafter rebranded as RSM,
           presently RSM International.

           Orange County Superior Court Judge Kim G. Dunning in Santa Ana indicated her
           approval of a $41.5 million settlement between a class of more than 3,000 owners of
           small- to mid-sized businesses and RSM EquiCo Inc., according to attorneys present
           at a Wednesday hearing. Plaintiffs' lawyers suing RSM EquiCo, a subsidiary of H&R
           Block that merged with McGladrey Capital Markets LLC in 2008, had sought
           approximately $250 million. The business owners paid between $37,500 and $50,000
           for appraisals, or "platform agreements," of their companies, according to the
           complaint. At that point, they could give a second RSM company authority to market
           the companies to foreign investors and others. From 1999 to 2007, the plaintiffs
           contend, only about 15 percent of the companies were marketed, only 3 percent were
           sold and just 0.3 percent were sold overseas. H&R Block purchased the RSM
           companies in 2001.

          Rosenbaum served as Corporate Officer for Service1st Bank of Nevada (2012 –
           2013), where he served with John Gaynor. On July 14, 2009, LAS VEGAS — Global
           Consumer Acquisition Corp. (GCAC) announced today entry into agreements for
           concurrent acquisitions of the Nevada branch operations and certain assets of
           Colonial Bank, a subsidiary of The Colonial BancGroup, Inc. (NYSE: CNB – News),
           a $26 billion financial services company. The acquisitions will include approximately
           $440 million of loans and approximately $492 million in deposits; and 1(st)
           Commerce Bank, a de novo Nevada bank formed by Capitol Bancorp Limited
           (NYSE: CBC – News) and local Nevada executives. 1(st) Commerce carries a
           Nevada bank charter under which the combined entity will continue to operate.
           Post-closing, GCAC will be the largest recapitalization of a newly formed
           commercial bank holding company by a SPAC in US history, and be re-named
           Western Liberty Bancorp (WLB). WLB will become a bank holding company and its
           banking operations will be conducted through its newly acquired subsidiary, which
           will retain the 1(st) Commerce Bank name.



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           December 13, 2021 – Global Consumer Acquistion Corporation (GACQ) Our aim is
           to grow Ascense Brands’ Air Care Platform into a billion-dollar business within the
           next three years, focusing on growing our brands and private label segments as well
           as leveraging value added acquisitions across the globe including Asia & India. We
           believe that Ascense Brands will become a market leader in the U.S. Air Care private
           label space with approximately 35% market share and strong growth potential.” The
           transaction values the combined entity at an enterprise value of approximately $507.1
           million, with up to approximately $117.5 million in net cash to fund growth. “GP
           Global through its Indian subsidiary, Primacy Industries Ltd., brings with it
           significant market access and a cost competitive manufacturing base in India,” said
           Mr. Ajila. Primacy Industries has recently received a $41 million investment, the
           investment was assisted by Bain Capital.

          India Resurgence Fund (IndiaRF”), a join venture between Piramal Enterprises
           Limited and Bain Capital Credit, Primacy Industries Limited (“Primacy”). The
           investment proceeds will be used towards strengthening the balance sheet of Primacy
           and providing fresh capital to fuel its ambitious growth plans. Primacy is a leading
           manufacturer in the fast-growing contracting business for fragrance-based consumer
           products in air care, personal care and health & hygiene categories. With an operating
           footprint across India, U.S., Europe, Middle East and Australian markets, Primacy
           caters to some of the largest retailers and CPG companies in the U.S., Europe and
           India.

           On July 25, 2024, the securities and exchange Board of India charged the managing
           director of Piramal Capital Housing Finance and Rs 45.5 lakh by his wife, while
           Greatdeal Finconsult Advisors LLP has to pay an amount of over Rs 17crore.
           Greatdeal will also take a voluntary debarment from the securities market for six
           months.




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        32.     Plaintiff states that within the evidenced findings, the redundant registration and

 application of the name “Crescent” is a mirror image of BCCI inclusive of nefarious, treasonous

 actors working in collaboration with the inclusive Defendants, as facts provide, to subvert and

 asphyxiate the United States, its’ economy and every inclusive corporation that refuses the covert

 advances to succumb or participate in the subterfuge. Plaintiff holds a repository of 1,780+

 501c3 and corporate entities, each either attaching to or staying the hand of the subject nefarious

 actors, unequivocal proof of the subterfuge, economic espionage of these United States. Below

 Plaintiff provides a directory of Crescent entities, followed by a secondary vignette.

               Crescent Capital to Trust Company of the West (“TCW”), later renamed to TCW
                Group (est. 1995) in California, Mark Attanasio remained a senior partner and
                CIO. TCW today is managed by Katie Koch, formerly of Goldman Sachs,
                Goldman Sachs was directly involved in BCCI (See: ECF Doc. 45-1, p.166; 167).

                In 2001, Societe Generale acquired a controlling interest in the Trust Company of
                the West (TCW) Group, the parent of TCW/Crescent Mezzanine. Crescent
                Mezzanine was co-founded by Mark L. Attanasio in 1991, the first was purchased
                in 1995 by TCW according to the fiscal records. Attanasio is the owner of the
                Milwaukee Brewers of MLB and the joint majority shareholder of EFL 6fice of

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                the United States Trade Representative (April 2001 – September 2005), directing
                Economic, Trade, Foreign and Agricultural Ministers in virtually every country of
                mutual =interest to the United States, negotiated food-related related negotiations
                including globally in the World Trade Organization (WTO), regionally in the Free
                Trade Area of the Americas (FTAA), and all bilateral free trade agreements
                (FTAs) with various countries and groups of countries such as the three Andean
                countries, Australia, Bahrain, five Central American countries, Chile, Dominican
                Republic, Morocco, Panama, Singapore, the five South African Customs Union
                (SACU) countries, and Thailand. He closed free trade agreements with 12
                countries on five continents and made important advances in FTA negotiations
                that were finished after he left office (Source: AFJ & Associates, Bio). Mr.
                Johnson is situated in the United States but his actions prove he holds no
                allegiance to same.


        33.     Plaintiff states that Crescent Enterprises, a subsidiary of the Crescent Group with

 Crescent Petroleum another private subsidiary; the company operates under four platforms – CE-

 Operates; CE-Invests; CE-Ventures; and CE-Creates a wholly owned family business group

 operating in the MENA (Middle East and North Africa) region (est. 1971). The CEO, Badr

 Jafar, a United Arab Emirates entrepreneur, chairman of Gulftainer.

        34.     Plaintiff states that Crescent Enterprises has overtly taken action to subvert these

 United States, acting in the capacity of its corporate ethos and on behalf of the United Nations,

 UNESCO, IRC, IPI, COP28, UNFCCC, Gulftainer, Pearl Initiatives, ASEP, AWSI, Sheraa m

 Gaza Sky Geeks, Endeavor UAE, Cambridge Judge School, MIT, the American University of

 Beirut, the American University of Sharjah, the Centre for Strategic Philanthropy at Cambridge,

 the Strategic Philanthropy Initiative at NYU, the Milken Institute for Strategic Philanthropy.

 Plaintiff states that Crescent Enterprises and its’ designees have expressly weaponized their

 alleged philanthropic capacities solely to subvert United States laws, precedent and the triune

 Founding documents, principally the Constitution, whether such action was orated or scribed, the

 conduct intent of destruction, obviation, and disjointing the Trust held sacred by the People of

 these United States for the Dominion of God, the Father.


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        35.     Plaintiff states that Crescent has an appreciative history of concealing themselves

 behind philanthropic endeavor, including those associated with Marc Rich, the BCCI, the Oil-

 for-Food program (as below), the Awan Brothers covert infiltration in federal national security

 matters, USAID, while not limited to the foregoing, Plaintiff has made disserted effort to

 dismiss opaqueness by providing the Honorable Court a detailed vignette of one domestic pass-

 through entity so associated, Plaintiff states as a matter of record, there are 1,000’s of similar

 structured assemblages among a myriad of associate corporations and entities.




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        36.     Plaintiff further emphasizes the foregoing drawing on the historic record of the

 Iraq war, a period of conflict orchestrated by the subject Defendants with the ultimate intent of

 inserting a Senator, holding allegiances apart from these United States, void of moral conscious

 but for the aforesaid allegiances, including but not limited to that of Nadhmi Shaki Auchi and

 ACORN. Moreover, Plaintiff states that such allegiances were and remain drawn from familial

 lineage, endeared and coveted while artfully orating otherwise, deceptive in every way; the

 Defendant, BARACK HUSSEIN OBAMA, did not in 2008 and does not presently meet the

 Constitutional threshold to serve as the President of these United States.

        37.     Plaintiff states that under parallel pretense to the actions of his co-Defendants,

 WILLIAM J. CLINTON and HILLARY R. CLINTON, as concerns the federal investigation, or

 lack thereof, and subsequent pardon of Marc Rich, Defendant BARACK HUSSEIN OBAMA

 leveraged these United States so as to infuse himself as an American citizen, a fraud actually,

 supplanted by foreign parties as an Executive of record while prostituting the sovereignty of

 every Created citizen and her lands to foreign interests in exchange for retention and transactable

 viability of plagiarized intellectual property “IP”, patents held by names not of work product

 origin, same belonging to Nikola Tesla. The extraction associated with that which rises from the

 sands as dark as the abyss of foreign lands, no less ancient than that of Oppenheim’s

 archeological finds held in the company of Nikola Tesla’s remaining records, usurped by the FBI

 and turned over to the Department of Alien Property Custodian – STOLEN. The Plaintiff holds

 to civility but holds absolutely no obedience to the inclusive Defendants, fraudulent by Title,

 Oath and allegiance; the fear of God will be made known and tangible with every civil authority

 so belonging. This land is not Rome, it is consecrated to God Almighty in Trust not of the

 inclusive Defendants’ Rights or authority to impose, extinguish or escheat.



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         38.    Plaintiff states that Hunter Biden, serving on the Board of Burisma until October

 3, 2019, through its parent company, Brociti Investments at the BNP Paribas, London Branch,

 was conducting business and in receipt of funds directly associated with China and Chinese

 citizens through UnionPay, a Chinese, state-owned financial services corporation and through

 licensure payment gateway in Eurozone countries, Europe. China UnionPay was launched

 March 26, 2002. In 2017, Chinese President Xi Jinping traveled to Russia, CEFC said it would

 buy 14% of Russian oil company Rosneft from Swiss-based mining company, Glencore and

 Qatar Investment Authority (“QIA”); a secondary interface in and among QIA as a business

 affiliate, aiding in the purchase and relocation of BNP Paribus in Milan, including securing the

 funds to aid purchase.

         39.    In 2015, BNP Paribas relocated its headquarters in the Diamond Tower, in Porta

Nuova, Milan, the purchase of the property in San Fedele was finalized through the COIMA, QIA

fund, Qatar Investment Fund and COIMA SGR. Plaintiff states that COIMA SGR S.p.A., on

behalf of shareholders Qatar Holding LLC, COIMA SGR S.p.A., COIMA S.r.l. and Manfredi

Catella, members of the shareholders' agreement among them signed on December 1st, 2015

(Source: COIA RES Shareholders Meeting June 11, 2020). The affiliation with both China and

Qatar through government owned enterprises is insurmountable. The interface and fiscal

attachments between the government owned enterprises commenced under Defendants

WILLIAM J. CLINTON and HILLARY R. CLINTON with Marc Rich. The relationship evolved

through Hunter Biden and Defendant, JOSEPH R. BIDEN. In between the two, these same

relationships were commercialized between BARACK HUSSEIN OBAMA and Nadhmi Shaki

Auchi.




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        40.     Crescent Australian Equity (est. 2011) formed from seed funds granted by Aon

 Hewitt, formerly known as Hewitt Associates (est. 1940), Lincolnshire, Illinois. In 2017, Aon

 Hewitt was acquired by Blackstone (2017) and spun off as Alight Solutions, having an

 appreciative acquisition/merger history. Crescent Australian Equity, founder Talal Yassine, also

 founded Crescent Institute, Ltd., Crescent Foundation, and Crescent Think Tank. Talal Yassine

 formerly with Price Waterhouse Coopers. Price Waterhouse is referenced 500 times in the BCCI

 Investigative record (See: ECF Doc. 45-1) as a principal actor, all locations including U.K.,

 Luxembourg, United States, among others.

        41.     In December, 2012, Talal Yassine formed the Crescent Wealth Superannuation

 Fund, Australia’s first Islamic superannuation fund which strictly follows Sharia Law adherence;

 no investment in alcohol, gambling, pornography, weapons, pork, and financial stocks like banks

 that bank on interest charges. Yassine is a Board member of Sydney Ports, Sydney West Area

 Health Service, the New South Wales Casino Control Authority and the Australian Postal

 Corporation, and the Council for Australian-Arab Relations for the Department of Foreign

 Affairs and Trade through which he serves as member of the DFAT Australian Malaysia Institute

 and Australian Multicultural Council.

        42.     In 2020, Crescent Finance entered into an exclusive agreement with DomaCom to

 pioneer Islamic home finance product launch, targeting 700,000+ Muslim population, Australia

 (Source: DomaCom Limited Director’s Report, June 30, 2021).

        43.     In 2021, Crescent Wealth, Australia has holdings including: Crescent Wealth Cash

 Management Fund; Crescent Wealth Australian Equity Fund; Crescent Wealth International

 Equity Fund; Crescent Wealth Property Fund; Crescent Wealth Listed Real Assets Fund;




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 Crescent Wealth International Passive Equities Fund; and Crescent Wealth Islamic Fixed Income

 Fund (Source: Annual Report, 2021).

        44.     On September 25, 2021, Meng Wanzhou, Huawei, Chief Financial Officer and

 daughter of founder Ren Zhengfei, formerly with the People’s Liberation Army, was released

 and returned to China, thanking President Zi Jinping. An open case involving sanction violations

 remained in the United States regarding Wanzhou.

        45.     On September 25, 2021, Defendant, JOE BIDEN announced a trilateral military

 pact with Australia and the United Kingdom.

        46.        The Honorable Court record reflects the detailed analysis through July, 2024

 including those emerging matters concerning the illicit actions of Microsoft and Defendant

 UNITEDHEALTH GROUP. The research continued giving rise to this Brief and Motion.

        47.        The BCCI historic record reflects CIA and foreign nation-state direct

 involvement in a myriad of coups to remove Prime Ministers and Presidents, although such

 events are not isolated to BCCI. Plaintiff states that the inclusive Defendants expressly, put a

 welcome mat for Kamala Harris as the unelected substitute to Defendant JOSEPH R. BIDEN in

 the 2024 Federal election, shortly after the coup which left the United States and her People

 gravely vulnerable, the fornicators of plagiarism as the criminal perpetrators have every

 knowledge of the facts that God has disclosed by Plaintiff obedient hands. Plaintiff restates the

 privacy breach of personal records, up to and including the Defendant JAMES PITTINGER

 refusing property tax payment in an effort to move of tax sale; Plaintiff will seek a restraining

 order under separate cover. The grave concern is and remains the state of our Nation and the

 weaponization of every venue to the People’s Rights of unencumbered voting access to the

 ONLY person who has and remains the Constitutional stronghold staying the criminal syndicate



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 that has ensconced these United States. Facing every allegation across from Soros funded

 Judges, no less compromised than the hidden hands that directed the Judicial tyrannical actions.

 Plaintiff states that the Truth which God alone has disclosed will not be kind to the purveyors of

 weaponization, whether by tongue or deed, He will be verily, verily just.

                         SPECIFIC STATEMENT CLAIMS – COVID-19

        48.     Throughout COVID-19, officeholders at the Federal and State levels, hosted

 publicly held “COVID-19 update” press conferences, disproportionately those individuals

 identifying with the Democratic Party opined regarding their perceived shortfalls of the Trump

 Administration’s alleged failure to supply PPE, ventilators and, as FDA consents were received,

 vaccines access. Among the subject persons ANDREW CUOMO (NY), PHILIP MURPHY

 (NJ), Ned Lamont (CT), Charlie Baker (MA), Laurence Hogan (MD), Tom Wolf (PA), Dan

 McKee (RI), Gavin Newsom (CA), Tim Walz (MN) in the company of those who would follow

 upon their departure as Governor including, KATHY HOCHUL (NY), Josh Shapiro (PA), Maura

 Healy (MA). The foregoing actions mirrored at the Federal level CHUCK SCHUMER, ADAM

 SCHIFF, NANCY PELOSI, JOE BIDEN, KAMALA HARRIS. A directory provided below for

 the Honorable Court’s reference, supplemented by EXHIBIT 2, a directory of similar press

 conferences.

        A. Andrew Cuomo, Governor, New York:
        o https://youtu.be/skmNLd_czp0?si=01GqlLjdlyjyEtCq ;Dec 8, 2020
           In this 7 Dec 2020 briefing New York Governor Cuomo talks to Dr. Anthony Fauci
           about the timing of COVID-19 vaccinations and why you should get vaccinated. Full
           briefing at: Governor Cuomo Directs State Dept. of...

        o https://youtu.be/NIkQMkXTXwU?si=mTO1inMXsY4ODHAF ; Mar 25, 2021. New
          York Gov. Andrew Cuomo facing new controversy over claims he prioritized
          coronavirus testing for family and associates.

        B. Philip Murphy, Governor, New Jersey:



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       o https://youtu.be/5xGlaWJYFcI?si=-h6W4Xk0SKl5R9Ki ;May 12, 2020 #nyc
         #abc7NY #localnews Gov. Murphy announced the state is directing $6 million in
         federal funding to Rutgers University to boost their test production capabilities from
         10,000 tests per day to 50,000 within the next six-to-eight weeks. New Jersey's
         testing plan will also utilize mobile testing units, which will go right into their
         communities, the governor said. Testing sites will be open within institutions of faith,
         including at churches and mosques. Read more: https://7ny.tv/2SYIWwJ

       o https://youtu.be/yvdU2eyWA5o?si=XrRYRs5_HpRk1X4F ; Jun 17, 2020
         A wrongful termination lawsuit claims a top Murphy Administration official pushed
         to get relatives tested for COVID-19 – back when everyone else waited for hours in
         line. He was refused by an assistant health commissioner who called the request
         "unethical" -- complained -- and allegedly got fired over the dispute. The
         Administration called the lawsuit "without merit."


       o https://youtu.be/R2reEf1MdXI?si=8Mq5T1Y1LAdvr6Rc; Aug 16, 2022
         Mandatory and routine COVID-19 testing is no longer required for many
         unvaccinated employees in New Jersey. This comes after Gov. Phil Murphy signed an
         executive order on Monday.

       C. Ned Lamont, Governor.

       o https://www.youtube.com/live/mhoaRFgQP8o?si=CId0wBGz9IEFiuKm
         Joint (NY/NJ/CT/RI/DE): Streamed live on Apr 13, 2020 #CNBCTV #CNBC
         New York Gov. Andrew Cuomo will join with other governors, including
         Connecticut Gov. Ned Lamont and Pennsylvania Gov. Tom Wolf, to make an
         announcement regarding the states' response to the coronavirus outbreak. Delaware
         Gov. John Carney, Rhode Island Gov. Gina Raimondo and New Jersey Gov. Phil
         Murphy are also scheduled to be in attendance.

       o Apr 16, 2020 https://youtu.be/VxL2obdSgkY?si=21AFOA43DnHKLCed
         Governor Ned Lamont's 4:30 p.m. news briefing today with updates on Connecticut's
         coronavirus response efforts. For more resources and guidance on coronavirus in
         Connecticut, visit http://ct.gov/coronavirus.

       D. Charlie Baker, Governor.

       o Apr 22, 2020 https://youtu.be/GJ5z2F2NQzQ?si=C2ip5g8Nhn1mUvoW
         Gov. Charlie Baker announces a new initiative to expand coronavirus testing through
         community health centers.



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       o May 12, 2020 https://youtu.be/bEjNtKIJzbA?si=6YFl4awXTQkbrlBO
         Gov. Charlie Baker says they have been on a global hunt for swabs to conduct
         coronavirus testing.

       E. Laurence Hogan, Governor.
       o Mar 12, 2020 https://www.youtube.com/live/zgvsiCjo_-M?si=zd9yUXPtKcIAUL1I

       o Aug 5, 2021 https://youtu.be/kkPZTfckpYs?si=oRMt_Rzmt0OBMPYy
         The recent surge of COVID-19 and the new and contagious delta variant have the
         Biden administration as well as state and local officials facing tough decisions,
         including whether to impose vaccine mandates. Maryland Gov. Larry Hogan joins
         Judy Woodruff to discuss the challenges.

       F. Dan McKee, Governor.

       o Aug 10, 2021 https://youtu.be/mdSOddWDASI?si=vKUkJQ8q5gSrIiGp
         Gov. Dan McKee spoke during a COVID-19 briefing on Tuesday, August 10.

       o Mar 4, 2021 https://youtu.be/hyBecFm9yAM?si=DamDcv4VtA_ieLMC
         At 1 p.m. Thursday, Rhode Island Gov. Dan McKee will hold his first weekly
         briefing since being sworn in and taking over the state's COVID-19 response and
         vaccine rollout.


       G. Kathy Hochul, Governor, New York:

       o Oct 19, 2021 https://www.youtube.com/live/lO7glmHTVUs?si=9IfT0_y4hJro0cCZ
         HAPPENING NOW—NY COVID-19 BRIEFING: NY Governor Kathy Hochul is
         holding a COVID-19 briefing. Watch live.

       o Feb 1, 2022 https://youtu.be/eWSdLZatAXA?si=St77rxLngj73FdXa
         February 1, 2022 Arkady Belozovsky (CDI) and Feed Interpreter Rachel Cahill



       H. Josh Shapiro, Attorney General.

       o May 21, 2020 #coronavirus https://youtu.be/6wD3Tgr0LP8?si=xTHKnF2Shf6fPbiA
         Follow Attorney General Josh Shapiro

       o Jun 11, 2020 https://youtu.be/p9xc20c4inw?si=iSyjJUcL5jEZ0GOY
         Then-Attorney General Josh Shapiro During this pandemic, one thing has been clear -
         - people need more access to healthcare, not less. I will continue to fight to protect
         women's access to contraception. Claim that Trump Administration was ignoring
         women’s health throughout pandemic.

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       o Sep 17, 2020 https://youtu.be/G9qq7T7RjLE?si=M79z8F-iy3ceMTwx
         Follow Attorney General Josh Shapiro – Unemployment insurance abuse – identity
         theft.

       I.   Maura Healy, Attorney General.

       o Dec 30, 2020 https://youtu.be/B0gOy_UkcqA?si=Gxv_ugtsC82ri_yn
         Massachusetts Attorney General Maura Healey warned residents to be aware of
         scams surrounding the coronavirus vaccine.

       o Jan 30, 2022 https://youtu.be/9vdCYXFBF7Q?si=ljm3cMrt35ALyhLv
         The Massachusetts Attorney General says she is continuing to prosecute those who
         were selling fake hand sanitizers and duping cities and the state into buying face
         masks that were never delivered.

       J.   Tom Wolf, Governor.

       o March 18, 2020
         https://www.youtube.com/live/WN6wZsNbY7U?si=UaCL1zW3JfC0SuZw
         Pennsylvania governor Tom Wolf gives coronavirus update.

       o Jan 14, 2022 https://youtu.be/ksdR4mx8bbA?si=5aKHzelut8uH0rzD
         He held a press conference on Friday afternoon, vaccine and boosters.
         Pennsylvania governor Tom Wolf gives coronavirus update.

       K. Charles “Chuck” Schumer:

       o Nov 19, 2020 https://youtu.be/h62_XZX1N8Y?si=D-A1W65nz3kj_msl
         Testing locations in rural areas are limited. Senator Schumer says that billions of
         dollars are available to help, but not being distributed.

       o Dec 5, 2021 https://youtu.be/0mKUxaNdUhQ?si=eiRscqHONM1bPysi Senator
         Schumer says the key to controlling the new omicron variant centers around at-home
         tests, which should be distributed for free to local health centers.

       o Mar 21, 2021 https://youtu.be/HI8M8qXvK1I?si=GCq6A46gNMCQKdZ7
         CBS2's Jessica Moore has the details. National ad blitz to advocate safety of
         vaccines, “it will slow down our complete recovery from COVID.”

       o January 23, 2024 https://youtu.be/n_YJCvFt6Gc?si=AshTyQ1_YDXjgnRw
         1.65m vaccines community health centers; 200 pop-up vaccine sites. Advocating



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       o Nov 29, 2020 https://youtu.be/bInf3jrLi6Q?si=XR7vRonslgei52k6
          Sen. Schumer spoke about the latest coronavirus stimulus talks during a news
          conference on Sunday. Vaccine production – commend the work of the
          Administration, half the work $30B needed for distribution, educate the public, etc.
          to get the shot in people’s arms. FEDERAL FUNDING NEEDED, mobile clinics,
          equitable distribution.

       L. Adam Schiff:

       o March 20, 2019 https://youtu.be/DDxwKjQY9QY?si=WN2kwHvrU1xkzjAD
         On Wednesday, March 20, Rep. Adam Schiff (D-CA) talked with CBS correspondent
         Tony Dokoupil about letters he wrote to Amazon, Facebook and Google about the
         spread of misinformation about vaccines on their platforms, and the free speech
         concerns that arise from that. During the interview, Schiff said: "They did take steps
         to de-emphasize the misinformation," Schiff said. Essentially, making them harder to
         find and harder to get. For Schiff, "maybe that's the right balance." "It is. I can't say
         that I am all that comfortable with that idea," Schiff said. "But I think here, where
         you're talking about an immediate threat to public health, where you're talking about a
         very strong scientific consensus, I think that cuts in favor of the exercise of social
         responsibility." Despite contacting tech companies about it, Rep. Schiff said he does
         not think it's the government's role to tell companies they can't publish certain
         content. "There is a First Amendment right to say whatever you will," Schiff said.
         "Because we are forced to deal with the problem it creates, and that is public health
         crises because other people suffer as a result."


       o Mar 12, 2020 https://youtu.be/369rUednxcc?si=YpOc-K9UyPDuwNzh
         On Thursday, March 12, Rep. Adam Schiff (D-CA), met with Dr. Rebecca Katz,
         Professor and Director of the Center for Global Health Science and Security at
         Georgetown University Medical Center, to discuss the Coronavirus pandemic and
         answer questions from constituents about how they can stay healthy and be prepared.
         For more information, visit www.cdc.gov. Dr. Rebecca Katz is a Professor and
         Director of the Center for Global Health Science and Security at Georgetown
         University Medical Center. She teaches courses on global health diplomacy, global
         health security, and emerging infectious diseases in the School of Foreign Service.
         Since 2007, much of her work has been on the domestic and global implementation of
         the International Health Regulations as well as global governance of public health
         emergencies. She has authored over 80 peer reviewed manuscripts, and three books in
         addition to numerous op eds, blogs, white papers and book chapters. From 2004 to
         2019, Dr. Katz was a consultant to the Department of State, working on issues related
         to the Biological Weapons Convention, pandemic influenza and disease surveillance.


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       o March 30, 2020 https://youtu.be/FItyJYnhN_8?si=CLfab0SXw5p_66UkOn
         Monday, March 30, 2020, Rep. Adam Schiff (D-Burbank) joined Good Day LA to
         discuss how the bipartisan $2 trillion relief package will help American families,
         workers, and small businesses weather the economic impacts of the crisis, and what
         more needs to be done – including increasing testing capacity, providing more
         support to hospitals and healthcare workers, and additional efforts to help small
         businesses get back on their feet. --- Join the conversation: →
         https://www.schiff.house.gov

       o Apr 5, 2020 https://youtu.be/hTAbVDLEZrI?si=urNHoFsj8J6KunXo
         On Sunday, April 5, 2020, Rep. Adam Schiff (D-CA), Chairman of the House
         Permanent Select Committee on Intelligence, joined MSNBC's Kasie DC to discuss
         his legislation to create a 9/11-style commission to review the government’s
         Coronavirus response. Schiff also discussed President Trump’s clear pattern of
         eschewing oversight, including his Friday night firing of the Inspector General of the
         Intelligence Community and his refusal to answer critical questions from reporters at
         his coronavirus briefings. --- Join the conversation: → https://www.schiff.house.gov


       M. Nancy Pelosi:

       o Sep 17, 2020 https://youtu.be/OsKWjYfe7Jo?si=KPIurmi_QC1Mrekl
         House Speaker Nancy Pelosi said Thursday a COVID-19 vaccine shouldn't be
         delivered one day earlier or one day later than it is ready, and politics should not
         interfere with the development or distribution of a safe vaccine. IMPORTANT
         DISCLOSURE. “EVERYONE HAS TO HAVE ACCESS”

       o https://www.youtube.com/live/Z53zEJiPn84?si=CFQzz-j_68Z2ZA54
         Streamed live on Dec 30, 2020 Politicking about the death of an incoming Rep. –
         died of blood clots…She was incoherent in the video…stumbling over her words.

       o Oct 10, 2021 https://youtu.be/stjd8ZqCmBk?si=8vFAQ5Dzkx0bI6OF
         With Italy preparing to require workers to carry a "Green Pass" that shows their
         COVID-19 vaccination status, protesters took to Rome's streets and clashed with
         police. Meanwhile, House Speaker Nancy Pelosi was visiting Pope Francis Saturday
         to discuss topics like climate change and had to be removed from the Vatican out of
         an abundance of caution. CBSN anchor Lana Zak spoke with CBS News' foreign
         correspondent Chris Livesay who was in Rome to give the latest.


       o Sep 6, 2020 https://youtu.be/qpEFPI1qE3o?si=CBlTKfPLMCJxkbBn


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          Donald Trump’s alleged statements disparaging the members of the U.S. armed
          services, COVID-19 economic relief, the expected coronavirus vaccine, and more are
          discussed by House Speaker Nancy Pelosi, in conversation with María Teresa
          Kumar.» Subscribe to MSNBC: http://on.msnbc.com/SubscribeTomsnbc
       N. Joseph R. Biden.

       o July 29, 2021 https://youtu.be/G3jS_EA5KGQ?si=pQVruEpvD5wTE0PP
         In a public address Thursday, President Biden announced that he will talk with the
         Defense Department to introduce COVID-19 vaccines into the list of mandatory
         vaccines for the military members. NO TEST, NO VACCINE – “mask, 1/2 tests per
         week, generally will not be able to travel for work. Get your workers vaccinated.
         NFL.” REPUBLICAN SENATE (2023) sent bill to rescind MANDATE for
         military.


       O. Dick Durbin

       o July 7, 2020. https://youtu.be/DZg8SXB_heE?si=YBn8P63pXbnBFK5Z
         Dick Durbin –Dr. Collins hearing, noting that Durbin brought up the implication of
         the live-virus historical experiences and the implications on the OWS pursuits to
         develop a vaccine under time constraints.



       o August 26, 2021.
         https://www.youtube.com/live/6UyzHI0c7xU?si=ZDyAZgyLoxUdtgBn
         Dick Durbin –SPRINGFIELD – U.S. Senator Dick Durbin will hold a virtual news
         conference to discuss the rise of COVID-19 cases, as well as the situation in
         Afghanistan. Durbin will be joined by a doctor from Lurie Children’s Hospital of
         Chicago to discuss the importance of getting vaccinated and following public health
         guidelines to help keep children and other vulnerable populations who cannot receive
         the vaccine safe. In recent weeks, the U.S. has seen an exponential growth in COVID
         cases among kids—fueled by the twice-as-contagious Delta variant—reaching levels
         unseen since last winter. The number of COVID cases in children nationwide has
         steadily increased since the beginning of July.

       P. Kamala Harris:

       o Jan 13, 2022 https://youtu.be/U2xNf4cuK3c?si=o76o_AHNgH9j5-2n
         Vice President Kamala Harris sat down for a wide-ranging one-on-one interview with
         TODAY’s Craig Melvin, discussing the progress made against COVID-19 during this
         administration and responds to why updated guidance on masks hasn’t been given yet
         as public health officials acknowledge cloth masks are not as effective as KN95s and

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              N95s. Harris also talks about the focus on voting rights, saying, “I don't think anyone
              should be absolved from the responsibility of preserving and protecting our
              democracy.” She also weighs in on a talks of a change to the presidential ticket in
              2024: "We are thinking about today."

        o Apr 28, 2022 https://youtu.be/Sup8gGUpwxM?si=Pd1JAHP7gBZuwLOK
          There is growing concern today President Biden is putting himself at risk of
          contracting COVID-19 with his appearances before large crowds, especially after
          Vice President Kamala Harris tested positive for the virus earlier this week, just
          moments before a scheduled meeting with the president. She is showing no
          symptoms, but is in isolation at the Naval Observatory, and taking the antiviral pill
          Paxlovid as a precautionary measure.

        o Jul 18, 2024 https://youtu.be/xqcUcaQA92s?si=-XAbIyPBQFvSOH2G
          Vice President Kamala Harris said, "You cannot claim you stand for unity if you are
          pushing an agenda that deprives Americans of rights."


        Q. Tim Walz:

        o May 27, 2021 https://youtu.be/kX2cXzXDkzM?si=yOkeOfEkZrlwiUe7
          Minnesota Gov. Tim Walz is trying to get 70% of people 16 and older vaccinated by
          mid-summer, reports Caroline Cummings (1:49)

        o October 6, 2021 https://youtu.be/F9ENtcJc1mA?si=U7VO3DTwM00VujNZ
          Walz recommends Legislative action to approval MANDATED VACCINATION to
          teachers and children.

        o https://youtu.be/AvfN296qiTs?si=yfC-OBoGw7Xl7dk76

              October 18, 2021: School scholarship – Academic ($200/12-17 yrs. And college
              scholarships $100,000.00 Minnesota school, public or private; $12.2m dedicated
              budget for scholarship and incentive programs. Cost of not being vaccinated –
              hospitals, lost work, etc. “Kids Deserve a Shot.”

        49.      On March 18, 2020, the Trump Administration created the first-ever public-

 private enterprise, expanding PPE production project with existing business entities coming

 together across the United States, retrofitting their facilities and equipment to manufacture and

 distribute all manner of person protective equipment. The joint business exchange brought

 together nationwide industry leaders in problem solving, forecasting and planning for delivery of

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 PPE equipment despite logistical complexities felt worldwide due to the COVID19. The vast

 majority of corporate participants adjusted their entire manufacturing and logistics facilities,

 reorienting their entire operations to meet the PPE demand domestically. The program proved

 successful.

        50.     While PPE from the foregoing project was disseminated through Operation Warp

 Speed, citing the statements of the Governors, Andrew Cuomo and Gavin Newsom, two fully-

 equipped and manned Naval hospital vessels for port in New York and California were readied

 and sent to the respective ports to serve as temporary hospitals/clinics, coordinated with the

 Governors both states; neither vessel was utilized to a great extent and returned for thorough

 cleaning/disinfecting several weeks after arrival.

        51.     April 17, 2020, the FDA confirmed taking action to “To Speed Coronavirus

 testing, FDA greenlights a new type of Nasal Swab.” The announcement confirmed the

 coordination with US Cotton and collaboration with Dan Wattendorf, a physician who directs

 innovation technologies at the Bill and Melinda Gates Foundation; “over the next few days he

 expects data on whether tests are still accurate after they are exposed to temperature extremes

 that would likely occur when sent through the mail. That could be a step toward the FDA

 allowing tests that people can sent to diagnostic laboratories through the mail…it’s really

 important the world knows about it…we want the manufacturers to known about it, we want the

 doctors to know about it.”

        52.     On April 29, 2020 NIH released guidelines for public health practices including

 RADx initiative for accurate testing (Source: September 4, 2020, NIH).

        53.     “The firm plans to manufacture the swabs in ‘large quantities,” the FDA said.

 Ken Ehlert, the chief scientific officer of UNITEDHEALTH GROUP which conducted studies



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 that led to the regulatory changes stated: “If you look at New York, they were days from being

 out” of basic materials like swabs and viral media, he said.” U.S. Cotton under the Parkdale,

 Inc., Parkdale Family of companies was awarded the contract under the FDA to manufacture the

 new swab introduced foam/synthetic swab, replacing the cotton swab, citing materials access and

 logistics issues.

         54.     When the swabs were authorized by the FDA and modified from cotton to

 polyester, the Gates Foundation and Innovative Technology Solutions (Dan Wattendorf), in

 combination with the Wyss Institute for Biologically Inspired Engineering at Harvard University

 introduced the nasopharyngeal swab, licensed by Agile Biodetection. “Conventional nasal swabs

 that are commonly used in infectious disease diagnostic medicine were designed 50 years ago,

 and are manufactured in two parts from different materials that then need to be assembled,

 sterilized and packaged in a multi-step process, which requires considerable time and expense. In

 successful tests performed by academic collaborators and teaching hospitals, the unique nasal

 swab design was demonstrated to effectively collect SARS-CoV-2 genetic RNA material from

 the nostrils of patients and to be more comfortable than existing commercial products” (Harvard,

 October 5, 2020).

         55.     Nikola Tesla’s IP was utilized for Project Gabriel, and the accompanying Project

 Sunshine, these followed the Manhattan Project, (1953). Project Gabriel was intended to identify

 incremental measurement of radioactive isotope Strontium-90, the most serious threat to human

 health resulting from nuclear fallout.

         56.     Preparing for this pleading, Plaintiff analyzed the August, 2024 report released,

 “Hunters Point Naval Shipyard, Strontium-90 Method at HPNS, “In 2021, the Navy observed

 elevated Sr-90 results using EPA Method 905; results were inconsistent and could not be



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 reproduced, identified a high potential for false positive results…The 2023 Method Verification

 Studies and Approval process conducted laboratory method verification sties on all methods;

 confirmed Eichrom Method for TBS reliability and accuracy; continued communication with

 regulatory agencies.” The data from time periods 1950-1960, 1970-2000, and 2009, are provided

 below:

               1950 -1960. Nuclear weapons testing dispersed Sr-90 in the environment. Operation

                of Naval Radiological Defense Laboratory established (1948-1969).

               1970’s – 2000’s. Navy ceases operations (1974). After leasing space to a private

                company for several years, the U.S. Navy CLOSED all property operations; HPNS

                added to Navy Base Realignment and Closure (BRAC) Program (1986).

                Environmental investigation and clean-up commence.

               2009. Established Sr-90 cleanup, measurement level at 0.331 picocuries per gram

                (pCi/g).

               2017. Navy and EPA found past radiological data unreliable; agreed to collect new

                samples, clean-up continued.

               2020. Navy soil sample collection began at Parcel G using EPA Method 905

                (Sept2020); agencies began collecting independent samples.

          57.      Plaintiff states that the inconsistencies are born of a fracture in the origin of

 measurement associated within the measurement level calculation, an unresolvable quandary for

 which an exceptional amount of taxpayer dollars has been expended while transferring the

 responsibility in between parties. The foregoing being a mirror image of the fractures and

 transactional currency of corporations within the United States economy. Plaintiff states that the

 fracture exists within the measures of nuclear exposure just as with the corporations because the


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 origin of both emanate from the same source; the IP authored by Nikola Tesla stolen upon his

 death by George Scherff, and shared at Harvard College. As the Morrill Act was passed, the

 records were disseminated more broadly the University lands protected as sovereign, unlike the

 innate gifts of the human mind honed by God intact in Nikola Tesla. Facts provide that once

 Scherff, Sr. aka. Prescott Bush shared them as he did with Adolph Hitler, the documents were

 plagiarized by a broad body of persons. To further illustrate the fracture and the fundamental

 basis of herein claims, Plaintiff brings to the Honorable Court’s attention the Texzon “Wireless

 and Microwave Circuits & Systems Test Findings.”

        58.     Based on the historic records, the replicable measurement benchmarks cannot be

 met. There is no work-around that would provide viable measurement, accordingly, the reassign

 to the Navy and the EPA, and where that failed, they retained an outside vendor to provided

 software intent to fix the problem.

        59.     Deferring to existing research regarding Project Sunshine, Project Gabriel,

 associated with the Manhattan Project, so too at the time, gave proof to the fissures described

 above, Plaintiff has attached the Project Sunshine report and study, a grisly tale of attempted

 work-around, the origin of the fractures inaccessible because they were stolen IP belonging to

 Nikola Tesla. Texzon Technologies, LLC 2016 findings entitled, “Wireless & Microwave

 Circuits & Systems” presented the testable findings regarding the Zenneck surface wave (ZSW),

 a type of electromagnetic wave that travels the earth, bound to its surface. The Texzon

 experiment test states:

        The Texzon field test provided that the Burrows Seneca Lake experiment did not satisfy
        the large numerical distance restriction on field strength calculations, it was unjustifiably
        used to substantiate the Norton-Niessen-Burrows assertion of a ‘Sommerfeld sign error’.
        Prof. Collins…conclusion, ‘the sign error that has been claimed in the technical literature
        for more than 65-years is a myth…in spite of the long-held belief, Sommerfield did not
        make a sign error in his 1909 paper…There is no sign error…The famous sign error is a

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        myth…The tragedy is that the opportunity for practical terrestrial surface wave excitation
        and the possibilities for Zenneck wave wireless distribution were missed altogether in the
        20th Century’ (Texzon, 2016).
        60.     United States Judicial records provide significant interface between Nikola Tesla

 and Jonathan Zenneck, extending to include Marconi Company, with such records held in the

 Supreme Court of the United States; the 1943 decision restoring the prior patents of Oliver Long,

 John Stone and Nikola Tesla. It can be asserted that Zenneck’s wave wireless distribution

 findings, similar to Marconi were missing origin records to verify claims made because the work

 product was plagiarized, belonging to Tesla.

        61.     There is no resolve to the Zenneck surface wave theoretical query and, facts

 provide that those holding to the aforementioned fissures, the inclusive Defendants among them,

 have for years, lived a parallel life within society one which is absolutely contrary to human

 interests, a counterculture with rules apart from God’s Law, Creation and the expanse of legal

 precedent informing civil society and expectations thereto.

        62.     God Almighty, Triune and omnipresent is THE measure of time, He has no origin

 associated with science as He created ALL THINGS, they are of Him and therefore intimate to

 HIS forecast of intent, the outcome known to Him. The Plaintiff drew on clinical research

 management experience including Rx to OTC to complete an appreciative investigation, the

 facts are presented in support of the associated claims, irreparable injury and relief.

        63.     Opposing all Constitutionally derived powers of the Executive of these United

 States, Donald John Trump, the test swabs were manufactured to receive the nanotechnology

 thin film deposition, PRC test (lab-based). Facts show that the nanotechnology included

 radioactive isotope, Strontium-90 (Sr-90), spent nuclear fuel or radioactive waste from nuclear

 reactors, applied by way of electrophoretic deposition of graphene on basalt fiber, knowingly and

 with malevolent indifference to human impact. Applying the extraordinary body of oration

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 from the inclusive Defendants regarding the COVID-19 lockdowns, economic shutdowns and,

 that the only means they would consent to reopen was test and retest; knowingly presenting a

 recurrent exposure of radioactive isotope to the blood/brain barrier of every one of God’s

 Creation. Plaintiff has included samples of such oration given the ongoing denial by the

 Defendants of their culpability – again, God ensured every piece of evidence to the Plaintiff’s

 hands, irrefutable evidence of their crimes against humanity.

        64.     The test swabs were altered several times throughout COVID-19, including rapid

 at-home antigen tests and molecular tests. Similar to a long Q-Tip, the samples include anterior

 nares (nasal); mid-turbinate (sample drawn from in the back of the nose); nasopharyngeal

 (sample drawn from deep in the nasal cavity); and oropharyngeal (sample drawn just beyond the

 mouth).

        65.     On April 24, 2020, Ferring Pharmaceutical announced a funding exploratory,

 basic, and clinical research grants to collect data and expand knowledge about the effects on

 SARS-CoV-2 on reproductive, pregnancy, and fetal/neonatal health. (Source:

 https://research.uga.edu/research-insights/ferring-pharmaceuticals-ferring-covid-19-

 investigational-grants-in-reproductive-medicine-and-maternal-health/) Additionally, On October

 19, 2022, Ferring Pharmaceuticals announced an in-depth analysis of future trends in the

 Assisted Reproductive Technology (ART) market. (Source:

 https://www.fertilityoutloud.com/?gclsrc=aw.ds) The inclusive actions of Ferring

 Pharmaceutical evidence a knowledge apart from the marketplace, informing participation in and

 among the inclusive Defendants who schemed for financially benefit at the expense of human

 lives, atrocities perpetrated against sovereign human beings, opposing all manner of human




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 dignity and God’s Law, international law and federal law. As a matter of record, Ferring is not

 alone in the body of collective analyses.

        66.      The actions below were conducted covertly apart from Executive authority

 informed by the Constitution, Article II, Section 1, Presidential Authority.

        o Grant Verstandig attaches directly to several of the known actors within Project

              Destiny, including Defendant, UNITEDHEALTH GROUP, the NSA and a broad

              number of corporate as well NGO entities. So too does Verstandig attach to CRISPR

              and AI technology. His alma mater, Brown University, he is alleged to have dropped

              out in 2010 following enlightenment of focus on healthcare born of collegiate

              lacrosse injuries. Plaintiff suggests that he accessed and plagiarized Nikola Tesla’s IP,

              applying them as his own and weaponized them against his fellow man, woman and

              the most innocent – children and babies.

        o The facts surrounding the correlation of venue to market body parts, the irrefutable

              association with Harvard University and, as facts provide UNITEDHEALTH GROUP

              with the CRISPR work product of Grant Verstandig the undeniable common thread.

              Verstandig was given security clearances during his foray as senior advisor to the

              NSA on advanced analytics, a security clearance which he retains to this day. The

              same holds true of his capacity at UNITEDHEALTH GROUP as senior advisor to the

              CEO, shifting from venue and capacity involving acquisition of his autonomous

              companies, presently incorporated into UNITEDHEALTH GROUP.

        67.         As far back as 2012, Harvard had pursued DNA Nanorobot technology through

 the Wyss Institute of Biologically Inspired Engineering, citing the aforementioned fissures,

 specifically focused on the target of cancer cells. Of all illnesses, cancer is the great equalizer,



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 indiscriminate in its treachery of the victim, a truly heart-wrenching journey. The Harvard

 Nanorobot design technology “inspired by the mechanics of the body’s immune system” affirms

 they knew and forecasted the future of your health and welfare, apart from any choice you might

 endeavor to make. Plaintiff completed a contrast/comparative analysis of every Harvard

 graduate, that analysis continues at this time but has born putrid fruit mirroring the facts herein.

 To be clear, every product and/or company that built their designs and patents on the stolen IP

 has broken the law, Natural Law as well the body of jurisprudence that a civil society relies on as

 reasonable expectation in their public and private life. Absent Justice being served, as much in

 honor of Nikola Tesla and righting the myriad of lies promulgated against the sitting Executive

 of these United States and presently the candidate for same, the People’s faith in the cardinal

 moral truths, that of Life, Liberty and Property will be irrevocable shattered. Plaintiff makes no

 negotiation allowance for the magnitude of parties who have partaken of the putrid fruit, the

 future of our Nation will reflect on the cumulative events, the evidence presented of God’s

 unearthing as well every inclusive Defendant reply, should they dare.

        68.        Through the lens of Jeremiah 9:2-7 …but they are not valiant for the truth upon

 the earth; for they proceed from evil to evil, and they know not me, saith the Lord…they will

 deceive their neighbor, and will not speak the truth…through deceit they refuse to know me...I

 will melt them, and try them. The evil described begins as a thought, desire or temptation

 (reward attachment), once it takes hold, it shifts the perspective and moves the actor from the

 relationship with Creator, God and into the chasm of the new master, laying hold of the heart and

 mind from which all vision is blurred but for that orientation, true in all circumstance and

 absolutely true of the whole - Project Destiny.




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        69.        The principal scientist at the Harvard Wyss Institute is Michael Rubin, a

 recipient of three Yale degrees of study, specializing in Middle East and Islamism policy

 analysis. Rubin serves on a variety of Boards and works with a number of NGO’s, advising the

 United States Army’s Training and Doctrine Command (TRADOC), having an appreciative

 history of deployed service as well teaching about Islam in foreign nation-states within the

 Middle East and Africa.

        70.        The following from Harvard, “the bioethics, the ethics of cloning refers to a

 variety of ethical positions regarding the practice and possibility of closing, especially human

 cloning. While many of these views are religious in origin, for instance relating to Christian

 views of procreation and personhood, the questions raised by cloning engage secular perspective

 as well, particularly the concept of identity. Advocates support development of therapeutic

 cloning in order to generate tissue and whole organs to treat patients who otherwise cannot

 obtain transplants, to avoid the need for immunosuppressive drugs, and to stave off the effects of

 aging. Advocates for reproductive cloning believe that parents who cannot otherwise procreate

 should have access to the technology…the moral argument put forward is based on the notion

 that embryos deserve protection from the moment of their conception because it is at this precise

 moment that a new human entity emerges, already a unique individual. Since is it is deemed

 unacceptable to sacrifice human lives for any purpose, the argument asserts that the destruction

 of embryos for research purposes is no longer justifiable.”

        71.        Facts provide that Verstandig, Rubin in the company of their employers

 UNITEDHEALTH GROUP and Harvard Wyss Institute, conducted themselves contrary to the

 Laws of Nature and Nature’s God, attaching to the aforementioned fissures while shifting their




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 humanity in holding to extraneous reward, an exchange of Contract but not a departure of their

 created relationship to God, that being inescapable by origin, root and DNA.

          72.      The parties contrived in and among government entities, NGO’s and

 individuals as one an-masse body, expressly usurping all Executive authority under Proclamation

 9994 and that of the Constitution with the sole intent of malice and depraved indifference so as to

 exact death upon sovereign citizens of these United States. A horrendous and painful death while

 backfilling their cancer treatment facilities, including Sloan Kettering (see Kenneth C. Griffin

 and Citadel Securities donor record), although not limited to Sloan as facts provide, to extort

 monetary gains while treating the victims of their human atrocities.

          73.      The nasal swab testing live human experiments are themselves depraved;

 however, the determinative outcome and forecast was fortified as malicious

 indifference/depraved-heart murder through further usurpation of Executive authority, introduced

 by way of Dr. Weinstein into Operation Warp Speed at the direction of Mike Pence, under

 deceitful pretense.

          74.      Dr. Weinstein, an employee of Microsoft Health, who helped to conceive and

 planned with the help of Warren Buffett, Bill Gates, the Board of Directors of Microsoft, and

 Microsoft Health, Mike Pence, the Democratic National Committee, Deborah Birx, Anthony

 Fauci, the Estate of John McCain having fortified Emergent BioSolutions as a federal contractor

 under guise of 9/11 and the cat litter a pretense of an anthrax terrorist attack, Adapt Pharma

 Limited, BioNTech, Moderna, the NIH, CDC, DARPA, including but not limited to the above

 names.

          75.      The Operation Warp Speed taxpayer funded project was forcefully railroaded

 by subversive parties planted within who usurped the Executive directives to exact a formulation



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 within the mRNA vaccine products, infused with graphite oxide via coated basalt fabric using

 electrophoretic deposition; an interfacial bonding between the fiber and matrix determining a

 pivotal role in deciding the mechanical performance of fiber-reinforced composition.

        76.        The foregoing informs those members of the federal government, including

 elected officials and their proteges, not limited to those named parties, deceived the People,

 forcibly tricking them into partaking of their Created bodies the pure evil resurrected by

 Oppenheim. The forecast to remove all choice of conception, men and women alike, forced

 sterility and, in cases of pregnancy, induce spontaneous abortion of the sacred unborn, absent

 ANY CONSENTS whatever. Their third-party designee, Emergent BioSolutions ensured the

 outcome by introducing smallpox variant as a secondary cocktail; Plaintiff states as a matter of

 record the resulting myocarditis, post vaccinal encephalitis, RSV, etc. are known patient drug

 interactive responses to the smallpox vaccine, evidencing Plaintiff’s claim.

        77.        Edward Liddy (AIG), under sworn testimony, spoke of Project Destiny at the

 TARP and SIG-TARP hearings so attaching to the forecasted events, known by all parties,

 preplanned and forecasted to these human atrocities against their OWN SOVEREIGN

 CITIZENS.

        78.        To be historically precise, they applied the concepts in practice of the German

 Reich, Adolph Hitler, who secured his heinous concoctions of torture principally against the

 Jews were sent from George Scherff and George Scherff Jr., aka Prescott Bush and George H.

 W. Bush, stolen property of Nikola Tesla for whom Scherff Sr. worked. Moreover, as to the

 actions of Scherff and Scherff Jr., the emergent CIA so too was a collaborator, extracting

 scientists and some 6,000 other undisclosed parties from German in the days that would follow




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 the end of that horrific war and brought them to bear on the United States, employing them with

 taxpayer funds, new names, etc. They have evidenced their own criminal conduct.

         79.        Had the manifest of Project Destiny been successful, those surviving, would be treated

 for variants of cancer, among a myriad of other diseases including HIV, Hepatitis, etc.

         80.        Charlie Baker, former Governor, Massachusetts, a graduate of Harvard, did not seek

 re-election for Governor, Massachusetts in 2023, his orchestrated hand in the 2020 election rewarded, he

 joined the Board of UNITEDHEALTH GROUP in November, 2023.

         81.        The rapid tests promoted by the likes of JOE BIDEN, KAMALA HARRIS, TIM

 WALZ, CHUCK SCHUMER, NANCY PELOSI, Dick Durbin, ADAM SCHIFF orchestrated at every

 level local, County and State policy including ANDREW CUOMO, KATHY HOCHUL, Gavin Newsom,

 PHIL MURPHY, Gretchen Whitmer, CHARLIE BAKER, Maura Healey among others (See ¶46, herein),

 and the inclusive body of Media and Public Broadcasting; each co-colluding apparatus in the interests of

 foreign nation-state with particular focus on Pakistan and United Arab Emirates. Through their actions,

 words, and deeds the inclusive Defendants and those herein named have unequivocally demonstrated their

 allegiance apart from these United States and her People, shattering public trust altogether.

         82.        Dr. Rick Bright, playing shortstop to the malevolent actors, presented a whistleblower

 complaint which was never released to the public. The report gave appearance that Donald J. Trump and

 Operation Warp Speed had in some manner steered contracts and funds during the COVID19 crisis.

 Facts contradict these claims, as presented herein; however, more telling was Dr. Bright’s reward

 following his departure from the NIH and the longstanding receipt of taxpayer funded payroll. On March

 8, 2021, immediately following his departure from NIH, the illustrious Dr. Bright joined the Rockefeller

 Center as Senior Vice President of Pandemic Prevention and Response, well rewarded for his baton hand

 off in the character assassination attempt of Donald J. Trump and, at the magnanimous expense to the

 AMERICAN PEOPLE.




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            83.     The very same Rockefellers who funded the myriads of political campaigns giving rise

 to the EGREGIOUS ACTIONS intent of termination the lives of AMERICAN CITIZENS and, so too, the

 VERY SAME who aided Morgan, Edison and the myriad of actors in stealing, manipulating and

 plagiarizing the IP of NIKOLA TESLA and the very same who manipulated human health from holistic

 healing.

            84.     During COVID, UNITEDHEALTH GROUP revenues increased substantially. So too

 were they rewarded for their role in the 2020 coup de ta’; back fed by KAMALA HARRIS herself, while

 not alone, she being the designee BORDER CZAR with the designated Constitutional Executive, not

 elected mind you, authority granted by JOE BIDEN. KAMALA HARRIS’s role as Border Czar was

 absolutely ignored, partnering with ALEJANDRO MAYORKAS, the DAKA King himself, the

 Constitutional levies breached, the border flooded of illegal immigrants while the SOROS funded NGOs

 sat at greeting tables, signing them up for UnitedHealth Care under the ACA Market exchange.

            85.     UNITEDHEALTH GROUP was in no manner done with their treacherous capacity,

 opposing all manner of public health interest. They would partner in the takedown of the AMERICAN

 PEOPLE and the EXECUTIVE of the UNITED STATES, sharing company with the OraSure having a

 suspect history of HIV testing and an equally troubling history of SolarCare Technologies. Established in

 1988, they had developed the rapid test for Hepatitis C and Ebola, undoubtedly a partner to the Gates

 Foundation’s actions taken with the aid of OPRAH WINFREY, WARREN BUFFETT, GILEAD and a

 number of other entities holding Microsoft Board capacity subject of a former podcast, together these

 perpetrators imposed on the sovereign beings in African Nations, serving as a litmus test to extinguish

 God’s created and His determinative procreation, each having inherent value beyond measure to all of

 Creation. Returning to the vignette of human atrocities, morosely perpetrated on the cadavers attaching to

 the Anatomical Gift Program at Harvard University, a matter of public record.

            86.     The foregoing parties would thereafter partner with DNA Genotek Inc., headed by

 Mara Aspinall, former Global head of Roche Tissue Diagnostics/Ventana Medical Systems and Bain



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 Capital, a Harvard alum, serving on the Board of Blue Cross/Blue Shield of Arizona, returning the

 conversation back to the Estate of John McCain. In the company of her associate, Nancy Gagliano,

 former executive with the NIH RADx Tech, Rapid Acceleration of Diagnostics program, tying directly to

 ANTHONY FAUCI and gain of function, so too a Harvard alum. The attachments to ELIZABETH

 WARREN and MITT ROMNEY, unquestionable.

         87.         Plaintiff seek to draw to the attention of the Honorable Court, the vaccine mandates

 and medical cards for which Defendant NANCY PELOSI attempted to introduce, mandated that our

 frontline be first to receive the vaccines and testing. On a human level, Plaintiff seeks the Honorable

 Court to understand the magnitude of the foregoing dictum, the People would have been made to

 succumb to their structures which they had prepared in advance of their design of nuclear war on the

 sovereign People of these United States; enslaved to whatever nomenclature they had forecasted and

 preplanned. Our military, law enforcement and first responders were knowingly made to be test subjects

 in an undisclosed scientific experience of dubious origin, exceeding the semblance of the Tuskegee

 Project and no less abhorrent; absent any disclosures and conducted at a period of extraordinary personal

 anxiety with media induced propagandized fear rampant worldwide.

         88.         More broadly, as Defendant JOSEPH R. BIDEN in the company of Kamala Harris,

 serving as Vice President, led the charge to usher chaos including a myriad of inconsistent

 communications regarding public health, the horrific Afghanistan withdraw, the Administration’s posture

 regarding Israel, payment of funds to Iran and abhorrent hostage with the Venezuelan dictator when

 combined with the vaccine mandates, the cumulative messaging sent a resounding message of weakness

 amid a turbulent ocean of international conflict for which neither alleged seated Executive sought to

 diminish, to the contrary, at every turn they shot the United States in the foot while putting the other in

 their mouth.

         89.         As the growing body of facts emerged from this analysis, the inherent nature of the

 Project Destiny came into focus. The first of the mandate recipients being the military followed by law

 enforcement in rapid succession, understanding the intent, Plaintiff picture the twin towers in every

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 community – who would now look after them as they succumbed to Strontium-90 poisoning? This was

 followed by policy dictum of the alleged Administration to the infrastructure of our Nation, its teachers,

 doctors, nurses, our seniors and first responders. The People were last on the kill list, not a pleasantry but

 intended to be isolated of medical resources, the remainder with all other human beings ill by

 scientifically derived design, the People would be vulnerable to the same treatment as the Reich and

 Bayer, any mire of scientific experiments all built of known fracturing supported by fabricated evidence,

 mere test subjects. It was and remains these thoughts that occupy Plaintiff’s mind as oration of candidate

 Kamala Harris smiles amid an audience which she, only months earlier, consented to confine in a coffin;

 they most audacious of treachery exceeding that of Mao, Hitler and Mussolini – combined.

                 SPECIFIC STATEMENT CLAIMS - CLONING AND TRAFFICKING

         90.      Plaintiff states, supported by facts of primary source, the foregoing matters attach

 to three principal areas of the HIGHEST NATIONAL SECURITY and humanity interest.

 Presented as (I) Cloning/Organ Harvesting; (II) Burisma/Biden Family/Multinational interface;

 and (III) Ukraine Infant Mills.

         I.       Human Cloning/Organ Harvesting. (Source: Domacom Ltd, Chairman’s Report –

                  June 30, 2021). Hilal Yassine joined the Board (2021). The organization is

                  structured with Board member holding from different nation-states, all consenting

                  parties to the atrocities. In December, 2020 DomaCom entered an exclusive

                  agreement with Crescent Finance (a wholly Sharia owned entity – Australia).

                  DomaCom Fund constitution and disclosure statement operational in August,

                  2021.

         a.       CATTLE: Ardian to CampusParc LP to Ardian Americas Infrastructure Fund V

                  LP managed by QIC Ltd. CVC Capital Partners Ltd. CVC Capital Partners IC

                  invested in URUS Group LP – Dairy Information Management; stockholders Pon


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               Holdings BV (Netherlands) and Cooperative Resources International, Inc.

               Wholly Islamic owned, fiscal record holding to Sharia Law; Wisconsin. Funded

               by “Global Growth & Opportunity Grants” for export to Africa funded by the Bill

               and Melinda Gates Foundation.

       b.      Layered Entities/Subsidiaries: Atla Genetics and GENEX – merged forming

               URUS, Madison, Wisconsin. The holding companies Koepon Holding BV

               (Netherlands) and Cooperative Resources International (CRI) member-owned

               cooperative Shawano, Wisconsin. All fiduciary holdings and inclusive entities tie

               directly to Yalal Yassine through DomaCom, DomaCom Fund, etc. All are

               transacted and consummated to the Islamic financial subsidiary of HSBC Bank,

               established through partnership with the U.S. fund manager, Saturna Capital to

               Crescent Australian Equity, seeded funding provided by Aon Hewitt, Aon – parent

               company Chubb. Noting that Scherff, Sr. aka Prescott Bush served on the Board

               of Chubb Foundation, undoubtedly having share Tesla IP.

            c. Crescent Wealth. Talal Yassine, Lebanese Australian businessman, formed

               Crescent Wealth (Est. 2011). Source: Annual Report 2020-2021. Yassine

               worked for Price Waterhouse Coopers and, analysis suggests this organizational

               structure was retained by the dereliction of John Kerry among other Legislative

               members, the FBI and CIA, the latter directly and fiduciarily invested in BCC

               International. He was a fund manager with Babcock and Brown in advance of the

               2009 economic collapse. He co-founded the Australian division of the Israeli

               based electric car company. Serving on several Boards: First Quay Capital and

               LandCorp Australia. Crescent formed Saturna Capital, to oversee international



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             shares, Sigma Funds to handle domestic (Australia) and the Islamic finance

             subsidiary of HSBC Bank.

             SUMMARY: The latter tying directly to human trafficking and illicit criminal

             activity subject of repeated fines, absent any change in behavior; also directly

             associated with the DEMOCRATIC NATIONAL PARTY, JOE BIDEN,

             KAMALA HARRIS, HILLARY R. CLINTON and WILLIAM J. CLINTON,

             BARACK HUSSEIN OBAMA, CHUCK SCHUMER, NANCY PELOSI,

             ADAM SCHIFF, the inclusive Defendants. The facts provide irrefutable evidence

             that BCC International and this accompanying investigation, autonomous from

             external parties, is an absolute continuance of the BCCI mapping and structure.

       II.   HUNTER BIDEN/JOE BIDEN (Senator Comer’s investigation affirms dual

             involvement, Plaintiff reviewed but did not consult the Senator’s findings to avoid

             cross-pollination and bias). Organ Trafficking. Burisma, JOSEPH R. BIDEN and

             HUNTER BIDEN attach directly and indirectly to Qatar Investment Authority. A

             wholly owned entity of Qatar.

                   Through China (Meg Wanzhou)

                   Chinese president Xi Jinping travelled, CEFC followed.

                   April, 2017 - Chinese president Xi Jinping met with Donald J. Trump

                    (Mar-a-lago).

                   CEFC announced a deal to buy into Cowen – NY Brokerage.

                   Chinese president Xi Jinping travelled to Russia, CEFC announced buy-in

                    of 14% (7X2) percent of Russian oil company Rosneft with Glencore and

                    Qatar Investment Authority.


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                 Burisma ties to BNP Paribas through four venues; Ukraine and Trafficking

                  in organs – leading up to the undisclosed clock associated with

                  predetermined event, also undisclosed, and cloning (UAE and China, facts

                  provide).

                 China UnionPay processes credit card and bank card payments in 181

                  countries. Process merchants accept UnionPay in Europe, licensed

                  payment gateways in Eurozone and the inclusive Countries so belonging.

                  Burisma is a direct beneficiary of China UnionPay which so too ties back

                  to the vignette on Crescent City Foods and its maze of mergers and

                  acquisition ultimately drawing back to a chronic layer of opaque fiscal

                  holding. BNP Paribas was born of a schism between Standard Oil,

                  directly associated with Marc Rich and Glencore. Paribas had been

                  designated in the funding agreement for the Iraq Oil-for-food programme,

                  oil pre-financing consisting of loans secured on future oil revenue, so

                  designated by the UN and the World Bank as a cause of impoverishment

                  of oil producing countries. Plaintiff draws from Amended Complaint

                  (See: ECF Doc. 45, ¶ 93), with close association between Defendants,

                  WILLIAM J. CLINTON and HILLARY R. CLINTON as to Marc Rich

                  and the compromised investigations conducted by Defendant.

                 The Paribas Luxembourg relationship was born of Iraqi businessman,

                  Nadhmi Auchi as the largest shareholder of Paribas, attained through his

                  holding company, General Mediterranean Holdings (GMH), a

                  conglomerate of 120 companies worldwide, and played a primary role in



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                    Paribas involvement with Iraq oil-for-food programme, executed by

                    Saddam Hussein and the United Nations.

                   2015 - Through BNP Paribas, unequivocally attaching to fiduciary partner

                    of Qatar Investment Authority, wholly owned by the nation-state of Qatar,

                    holding to Sharia law.

             SUMMARY: The analysis resulting from the foregoing discloses replication, up

             to and including cloning has advanced in the United States through foreign

             attachment including Australia, the United Kingdom, China, Netherlands, and

             OIC Nations. Plaintiff states that it is now unequivocal that the inclusive

             Defendants orchestrated a coup on Donald John Trump and the Presidential

             Executive Authority granted by election of the People, so too are they absolutely

             intent on dismantling these United States through economic espionage and human

             atrocities mirroring those of Adolph Hitler, less the trains, the formulation of

             Project Destiny is a mirror image of the Reich.

             In December, 2020 the Bylaws of the OIC were restructured later accepted by the

             United Nations, this of course just following the certification of the 2020

             Presidential election; these facts and their interface with the cumulative data is

             further affirmation of intent that these United States would become a Muslim

             Nation, the removing of God, Almighty from every facet of His created and

             forgiveness by His grace so accompanying.

             Data provides the same model and mapping of shell corporations was adopted to

             avert public disclosure requiring forensic quality analysis and cross-pollination of

             records. Australia has given fiduciary consents to Sharia apart from Queensland



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              holdings, their governmental design is outside of my purview, my foremost

              concern is the facts God’s hand disclosed.

    III.   UKRAINE/RUSSIAN WAR.

              1. Defendant JOSEPH R. BIDEN, Kamala Harris and Tim Walz as Governor of

                 Minnesota in the company of the entire DEMOCRATIC NATIONAL

                 COMMITTEE, through the continuum of funds flowing to a war, absent

                 consent of the public, the foregoing parties have sought to make the

                 AMERICAN TAXPAYERS mutually culpable for undisclosed atrocities.

              2. Periods of conflict restrict travel but for diplomacy and, in many such cases, a

                 third-party nation-state plays host as was the case with Italy in July of 2024.

                 The absence of travel and the influx of an extraordinary amount money, an

                 allotment of the $113.4B of the total allocation in emergency funding,

                 Defendant JOSEPH R. BIDEN and Kamala Harris have codified into

                 domestic policy that the United States and EVERY SOVEREIGN CITIZEN

                 are “American partners affected by the Russia-Ukraine war, and the United

                 States national security program” (Source: White House Press Release,

                 Ukraine Diplomatic Meeting July, 2024).

           3. Facts provide that the Ukrainian biotech labs, funded by AMERICAN

              TAXPAYER FUNDS, at the direction of Volodymyr Zelenskyy and unknown

              actors for which the DEMOCRATIC NATIONAL COMMITTEE and JOSEPH R.

              BIDEN, Kamala Harris and Tim Walz had full knowledge, have been cloning

              infants and have amassed baby mills. The greatest export of a nation-state

              claiming democracy as a precept and demand of funding is children – these



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                 statements are as abhorrent as disdainful in the eyes of God, absolute in the

                 resounding echo of the defined fissures, their currency within the duality of their

                 fractured souls. Facts provide and are a matter of the Federal District Court

                 repository that under pretense of COVID-19 contact tracing they have been

                 monitoring sewage treatment plants.

              4. This statement is informed by the DNA genetic research completed by Russia, the

                 only other such bank held by the Mormon’s repository. The facts provide that the

                 United States is NOT an island, every single vile action taken with the sole intent

                 of harming human life during COVID-19 so too happened globally.

        91.          Observing the Chernobyl fallout, for the whole of their determined global

 society to advance, Russia and Ukraine so too needed to ensure the ability to procreate while

 retaining some insurance that the children naturally formed would be healthy infant offspring.

 Indeed behind the sovereign human beings, of and belonging to the Creator God, worldwide, the

 inclusive body of heathens so focused on themselves and capacity as a retention of controlling

 civilization that they have knowingly manufactured the replacement of the very essence of the

 that which is Light in all things, essence and being, the Holy Spirit of God entwined in each and

 every Createds’ DNA, by His design.

        92.          Simultaneous to the foregoing events, the inclusive Defendants continued to

 fund independent NIH research of gain of function, opposing standing federal policy and in

 furtherance of their malevolence determination to control civil society while maintaining

 semblance of separation between the dual realities, fortifying their sociopathy while severing

 their humanity.




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        93.         The Defendant, JOSEPH R. BIDEN and Kamala Harris’ constant

 pontification regarding the allocation of taxpayer funds in advocacy of those among His created

 whom them allege to champion, the “folks” so too belong to the sovereign PEOPLE of His

 Creation in the one another model of created design, we feel what our neighbor feels not as a

 scientific measure but as a human distinction; this too they have weaponized and leveraged

 against humanity while they parlay with the ancients among the dark crevices mocking the

 inclusive Createds. The foregoing is a statement of fact not hyperbole.

        94.         Plaintiff gives thought to the weighted words of Donald John Trump, the

 many statements, some perceived as conjecture or exaggeration; Plaintiff states as a matter of

 recorded repository held by the Trenton Federal District Court, each and EVERY statement was,

 is and remains absolutely true.

        95.         Their forecast was so scientifically exacting that we, THE PEOPLE who hold

 the majesty of grace, a covenant apart from human manufacture, would be made to contract and

 design the “child” we ultimately hold and “raise”, but for the programming, that would stand

 apart from nurture and Nature, as well from Nature’s God, absolutely controlled by a central

 authority and origin for which you as the sovereign of His Land Trust will have NO VOICE or

 contribution in the clone’s direction of future, you will merely breath until THEY decide your

 expiration date.

        96.         Ensuring their ends be retained under Project Destiny, they have transacted

 every facet of human nourishment to the United Arab Emirates within the United States. THE

 DEMOCRATIC NATIONAL COMMITTEE, JOSEPH R. BIDEN, Kamala Harris and Tim Walz

 among many others. I conducted a cursory review of the recorded statements, the Defendant,

 REPUBLICAN NATIONAL COMMITTEE advocated for the Ukraine funding to stop,



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 simultaneously requesting measurable benchmark reports. Zelenskyy visited, asking for more

 money, but the measurable reports were NEVER PROVIDED, the funding was secured, again.

 On the other side of the equation are our service men and women who not the governments’ asset

 but THE PEOPLE’s as God’s determination within them to serve in our stead, this strikes at the

 very fabric of our Nation; the vulnerability to war based on ineptness as much as an undercurrent

 to which no one is aware.

        97.         God makes no allowance for the scientific and technological advances at the

 expense of His created beings where they are restricted from participation in self-governance, in

 keeping with the Cardinal Moral Truths that which secure Life, Freedom and Liberty. The fact

 of the matter is that the inclusive Defendants know this and their Enlightened minds believe the

 work-around to the fracture, in this case, is our replacement. This too He will not have, Plaintiff

 has witnessed His fury as much His grace, the ground will shake with the former and no manner

 of scientific calculation invented will stop His wrath; for Christ is the end of the Law for

 righteousness to every one that believeth (See: Romans 10:4).

                      SPECIFIC STATEMENT CLAIMS - ELECTION FRAUD

        98.     As a matter of record, Plaintiff has provided the Liberty Project, Inc. Exhibits – 7

 Points of Evidence Executive Statement of Facts, retained in the Trenton Federal District Court

 repository (See: ECF Doc. 46; 46-1; 46-2; 46-3). A review of the facts emphasizes the fissures

 and work-arounds, malfeasance in the caretaking of taxpayer funds, without question; however,

 as consideration shifts to federal elections, the level of malfeasance moves with the Law in scale

 to meet facts in evidence.

        99.     The facts provide that Defendants, NANCY PELOSI, ADAM SCHIFF and their

 peers within the DEMOCRATIC NATIONAL COMMITTEE knowingly steered the inordinate



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 paper mail-in-ballot manipulation that took place during the 2020 election, Federally protected

 infrastructure, in and among the myriad of other violations of the People’s Rights, so too

 Federally protected, it was the Defendant, NANCY PELOSI’s hand of authorship that moved

 exceeding her authority, usurping Executive authority, so too Federally protected, that sealed the

 fate by forecasted manipulation of the 2020 Federal election. Plaintiff holds repository of every

 conceivable facet by God’s directive of the 7-Points of Evidence, reviewed by a secondary

 Paralegal, attorney withheld the Liberty Project’s access, the fact is glaring and fiscally

 measurable.

            1. Accenture Information Technology Services. The Accenture December 29, 2020,

                Report (20-076-R21) under the auspices of the OIG/USPS which Plaintiff

                analyzed. Plaintiff states as a matter of record that the USPS IT service contract

                had not gone out to bid, allowing for transparency and public disclosure, these

                points are interesting from the perspective that the premise of the lawsuits filed as

                well the posture of the Congressional body claimed to be seeking the same

                changes that the Postmaster sought to introduce, yet without disclosing the extent

                of their intent, Congress reversed cost savings measured and mandated the

                contractual relationship affixing Accenture Information Technology with a

                significant increase in cost. Analysis of the report provides that the contracting

                party (Accenture) was given venue by the foregoing Defendants to advocate for

                themselves, creating a written articulation as a matter of record, to which the

                Congressional body layered in vitriol, accusing the Postmaster General of

                sabotage. Plaintiff moved to analyze Accenture Information Technology.




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             2. Since 2020, Accenture has obtained contracts with the Department of Commerce

                 (2020), Department of Homeland Security (2021), the U.S. Patent Office,

                 Department of State (2022), U.S. Customs and Border Protection (2023), United

                 States Army (2023), United States Agency for International Development

                 (USAID) (2023), Government-wide Acquisition Contracts (GWAC’s), U.S.

                 Department of Veterans Affairs (2022), U. S. Centers for Medicare and Medicaid

                 (2023).

             3. In June, 2021, the Department of Homeland Security and Infrastructure Agency

                 (CISA) executed a contract with Accenture for $112m to provide advanced cyber

                 services for CISA to help FCEB agencies mitigate the effects of cyberattacks

                 including ransomware, botnets, and malware campaigns, while enhancing real-

                 time visibility into cyber threats. On October 15, 2021, Global IT reported that

                 LockBit ransomware operators stole data from Accenture systems during an

                 attack that hit the company’s systems in August, 2021; two months following the

                 CISA contract award and three months in advance of the November 2021 general

                 election.

         100.    Applying the analysis herein, Plaintiff states that the contractual relationship

  between Accenture and the United States has been orchestrated with malicious intent; opening a

  crevice of opportunity formerly safeguarded. Plaintiff further states that but for the contract,

  such vulnerability would not otherwise exist.

         101.    Defendant, NANCY PELOSI’s contradictory actions knowingly and unlawfully

  undermined USPS, exceeding her legally informed authority while attempting to retain deniable

  plausibility so as to conceal her criminal act by hosting publicly televised events simultaneously



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  countering the advances, a secondary deception of the People and these United States. The wanton

  actions inverted the internal protected policies enacted by USPS to ensure timely postal delivery,

  including of mail-in-ballot; advances which Defendant, NANCY PELOSI herself reversed, in writing, in

  a clear effort to subvert the DeJoy developed internal policies. Insodoing, the Federally protected

  election was jeopardized, and every mail-in-ballot was made vulnerable.

         102.    The foregoing actions resulted in chaos, fostered dysfunction days advancing the 2020

  election, knowingly so as to influence and intimidate the USPS, at the time of the action by the

  Defendant, NANCY PELOSI, the Governors, holding to the 10 th Amendment of the Constitution, had all

  and inclusive executed an Executive Order or Proclamation declaring that the November 2020 election

  would be held by mail-in-ballot, therefore the actions taken by the Defendant were with utter malice with

  every knowledge of the foregone outcome up to and including the chaos.

         103.    Article II, Section 1, cl. 4 informs parallel constitutional provision addressing

  presidential elections with Congress determining the “time” of choosing presidential electors

  and the day the electors shall cast their votes, with that day the same throughout the United

  States. The Supreme Court has held that “[t]he importance of [the presidential] election and the

  vital character of its relationship to and effect upon the welfare and safety of the whole people

  cannot be too strongly stated” and that “Congress, undoubtedly, possesses that power…to

  preserve the…institutions of the general government from impairment or destruction…”

  Congress, exercising its authority under this provision, enacted legislation establishing an

  Election Day. The power to appoint electors and how those appointments are made, however,

  belongs to the states under Article II, Section 1, cl. 2.

         104.    Congress does not have general regulatory authority over state and local elections,

  but it may still exercise its power over such entities in several contexts including authority to

  prevent unconstitutional voting discrimination in a state or local election, authority to legislate


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  regarding various issues derives, adding to its Article I powers, principally from the Fourteenth

  and Fifteenth Amendments, and relying on the Spending Clause authority under Article 1,

  condition of receipt of federal funds for state or local elections on compliance with federal

  requirements, including those expressed under the DHS Election Infrastructure Subsector

  policies.

         105.    The federal government lacks Constitutional authority to interface directly in

  local, county and tribal elections without being requested, prompted or otherwise authorized to

  gain such entry.

         106.    Plaintiff states that the Defendant, TAHESHA WAY, unlawfully gave consent to Federal

  authorities including but not limited the Department of Homeland Security in the November 2022

  election. Plaintiff was a candidate in said election, having first-hand knowledge and harms so

  associated.

         107.    Following the subject election, Plaintiff authored FOIA requests to obtain the reports

  associated with the Federally designed purpose of traverse into local elections, attached collectively as

  EXHIBIT 3. Plaintiff states as a matter of record, not one respondent including the Department of

  Justice could produce a written report because no such report was authored or transcribed, in point of

  fact, the New Jersey Homeland Security offices had no knowledge of any such policy or subject

  reporting.

         108.    Plaintiff states that the Defendants, TAHESHA WAY, PHILIP MURPHY, MATTHEW

  PLATKIN and MERRICK GARLAND provided written statements attesting to policy absent

  benchmarks, training, etc. as a form of election intimidation, a federal offense given the protected

  infrastructure. The fact that no report was authored has no relevance, the knowing intimidation was

  comprehensive and formidable by dissemination of the scribed communication. See Title 18 §

  245(b)(1)(A) of the U.S. Code addresses election interference in elections by force or threats. Title 18 §

  245(1)(A) imposes penalties on whoever “by force or threat of force willfully injures, intimidates or

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  interferes with, or attempts to injure, intimidate or interfere with any person because he is or has been, or

  in order to intimidate such person or any other person or any class of persons from” voting or

  participating in other election activities. Title 18 § 245 (a)(1) requires the Attorney General, the Deputy

  Attorney General, the Associate Attorney General, or a specially designated Assistant Attorney General

  to certify that federal prosecution of a case under Section 245(b)(1)(A) is in the public interest and

  necessary to secure substantial justice.

         109.    Article 1, Section 4, cl. 1 of the U.S. Constitution, known as the Elections Clause,

  protects States from Federal overreach in and among sovereign election end-to-end

  infrastructure.

         110.    Plaintiff states that Microsoft has and continues to utilize frequency as a form of

  election manipulation within the Azure platform accessed by 3 rd party vendors including but not

  limited HartInterCivic, Dominion, ES&S, et al. Plaintiff states that frequency alteration is

  concealed and, to the degree the variation can or cannot be externally controlled is unknown,

  undisclosed and concealed by for the controlling party(ies) whose intent is a variant factor.

                SPECIFIC STATEMENT CLAIMS – CRIMES AGAINST HUMANITY

                                   FREQUENCY MANIPULATION

         111.    Plaintiff emphasizes the history of Operation Paperclip which confirms that as

 many as 6,000 persons of questionable moral compass were given aid and comfort by the CIA,

 transported to reside and placed in capacity of governmental roles within these United States

 under CIA directive following WWII. Throughout the war, George Scherff Sr., worked as a

 Clerk for Nikola Tesla and his son, George Scherff Jr. was often in his company as previously

 established. Plaintiff states that the history of Prescott Bush and George H.W. Bush is itself

 fractured and they are in fact Scherff Sr., and Scherff Jr. who transacted Tesla’s IP records to

 Adolph Hitler, working with Bayer in the production and weaponized use of Zyklon B.

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        112.    Plaintiff states that the formula intent by Tesla’s design of beneficial immune

 system application was fractured upon transfer by Scherff as with the litany of examples of

 corporation entities and products herein and, attaching to the human condition of self-realization

 to that of its opposite, whole of the Holy Spirit with resides in the soul by His hand. Bayer

 applied a work-around through extensive experimentation on human beings without benefit of

 anesthesia, consent or otherwise. The foregoing an elementary explanation to a complex period

 of history recorded that all of humanity would never forget, the inescapable Faultline within all

 Createds “the whoring after their idols: and they shall lothe themselves for the evils which they

 have committed in their abominations” (See: Ezekiel 6:9) the human stain as it curves the soul

 into itself, incurvatus in se. At the end of the hate comes self-hatred which arrives and takes up

 residence in the crevice where empathy, compassion and love once resided – if left to its own,

 shifting all humans in proximity.

        113.    Edward Liddy as the author of Project Destiny, presented at the TARP federal

 hearings worked for DuPont, the latter applied Tesla’s IP without holistic knowledge in the

 design and build-out of the Groves at Oak Ridge Tennessee with Stone & Webster engaged to

 carry out the Manhattan Project’s construction program at the Clinton Engineer Works (Oak

 Ridge); fractured at origin absent foundational concepts which would remain undisclosed.

        114.    Further evidencing the foregoing statement and the merit of the inclusive

 analytics, Walter S. Carpenter, President of DuPont met with then-President Franklin D.

 Roosevelt, Henry L. Stimson (Secretary of War), General George C. Marshall (Chief of Staff,

 United States Army) met regarding the Manhattan Project on October 31, 1942. Having every

 knowledge that the end-to-end design was fractured with its original author Nikola Tesla made

 inaccessible, the attending persons forming the Executive Committee determined no payment



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 should be transacted to avoid being labeled the “merchants of death;” the Cost Plus Fixed Fee

 contract was agreed at one dollar. At DuPont’s request, Vannevar Bush took a letter to Roosevelt

 noting that the government was assuming all responsibility for the hazards involved in the

 project which Roosevelt initialed, consenting to same. This, of course, removed liability placing

 it back on the People of these United States, a recurrent calculated action with the same being

 true in and among the subject findings.

        115.    Facts provide, in light of Tesla’s stolen and exploited original works, between

 December 18 and 31, 1942, just twelve days before the MetLab Team led by Enrico Fermi

 started up Chicago Pile-1, the first nuclear reactor, a three-man party including Colonel Franklin

 T. Matthias, A.E.S. Hall and Gilbert P. Church (the latter DuPont engineers), inspected the most

 promising sites after the Tennessee Valley Authority was ruled out by the Clinton Engineer

 Works as it was expected to use up all of its surplus energy. This of course contradicted by

 Tesla’s stolen IP but ensured directive toward real property procurement. The evaluation focused

 on two States – 4 sites, Mansfield, Washington, one near Hanford and one in the Deschutes

 Valley of Oregon, and two in the vicinity of the Colorado River in California; Mattias reported to

 Groves that the Hanford site was “far more favorable in virtually all respects than any other.”

        116.    The foregoing analysis walks into the February 22, 1943, Washington Title

 Insurance Company’s issuance of title certificates by Federal Judge Lewis B. Schwellenbach

 subsequently issued an Order of possession under the Second War Powers Act the following day

 for the acquisition of 4,218 tracts totaling 428,203.95 acres in Prosser, Washington. Prosser is by

 God’s hand home to basalt bedrock formed by the Missoula floods, USGA geological mapping

 evidencing the records being established in Benton County, Washington; 1916, “Prosser Series”

 last updated, September, 2019.



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        117.    As provided above, Nikola Tesla’s IP was utilized following the experimental

 Manhattan Project in Project Sunshine and Project Gabriel (1953), seeking to measure the

 radioactive isotope Strontium-90 representing the most serious threat to human health from

 nuclear fallout. Plaintiff’s analysis of the August, 2024 report provides that the Universities

 having benefited from the Tesla records, Microsoft and its affiliates, associates and/or contractual

 related entities or persons has accessed and experimented with Nikola Tesla’s IP, specifically

 with alternating currents of high potential and high frequency.

        118.    Plaintiff states that through years of experimentation, unconsented and

 undisclosed very much the same as the Reich - Universities, Microsoft and federal agencies

 including DARPA have knowingly experimented on the public without their knowledge.

 Plaintiff provides a sample of combined patent history below:

               (See: https://www.microsoft.com/en-us/research/publication/rethinking-indoor-

                wireless-low-power-low-frequency-full-duplex/)

               The foregoing as early as 2009, on inanimate and atomate objects, persons and matter,

                Microsoft has taken action to patent frequency technology with such patent records

                evolving over time from U.S. patent application number 16/659885 was filed with the

                patent office on 2021-04-22 for emotion detection from contextual signals for surfacing

                wellness insights. The applicant listed for this patent is Microsoft Technology

                Licensing, LLC. The invention is credited to Subramanian Ramakrishnan, filed April

                22, 2021. The foregoing evolving from patent 6,754,472, filed in 2004, “The human

                body is used as a conductive medium, e.g., a bus, over which power and/or data is

                distributed. Power is distributed by coupling a power source to the human body via a

                first set of electrodes. One or more devise [sic] to be powered, e.g., peripheral devices,



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             are also coupled to the human body via additional sets of electrodes. The devices may

             be, e.g., a speaker, display, watch, keyboard, etc. A pulsed DC signal or AC signal may

             be used as the power source. By using multiple power supply signals of differing

             frequencies, different devices can be selectively powered. Digital data and/or other

             information signals, e.g., audio signals, can be modulated on the power signal using

             frequency and/or amplitude modulation techniques.”

            The foregoing represents a sample of the patent frequency evolution of Microsoft with

             external parties pursuits advancing in parallel action; Patent 9.433,789 B2 METHOD,

             SYSTEM AND APPARATUS FOR REMOTE NEURAL MODULATION BRAIN

             STMULATION AND FEEDBACK CONTROL, : Laura Tyler Perryman, Scottsdale,

             AZ (US); Chad Andresen, Chandler, AZ (US); filed March 14, 2014.

            Plaintiff states that Microsoft has a history of shared, sponsored and mutual

             cooperation in the area of IP (“IP”) For example, “South Korea’s 365mc Hospital

             would own the IP for an artificial intelligence (AI)-assisted surgery application that it

             has created with Microsoft. The hospital has since deployed the app in its own

             business, and plans to commercialise the technology. Microsoft will also receive

             licences to patents and industrial design rights for new technology that it creates from

             collaborations with customers, but such licences will only be used to improve current

             and future versions of its platform technologies, such as Azure cloud services” (Source:

             ComputerWeekly https://www.computerweekly.com/news/252438376/Microsoft-

             outlines-approach-to-intellectual-property). Plaintiff examples: MULTI-SIDED

             ELECTROMAGNETIC COIL ACCESS ASSEMBLY, United States Patent

             Application 20190267963; filed August 29, 2019 by Khawand, Charbel (Sammamish,



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             WA, US), Jain, Sidharath (Bellevue, WA, US), and Morris, Toby James (Seattle, WA,

             US) (Source: https://www.freepatentsonline.com/y2019/0267963.html). The foregoing

             referenced by Windows Latest, August 30, 2019 reflective of IP as the subject patent,

             “was filed by Microsoft in February 2018” although Microsoft does not appear within

             the body of the patent, therefore it can be surmised that Microsoft outsources IP.

            Plaintiff states that Microsoft’s interface with MIT and other University settings

             including Harvard is a matter of historical record. On June 21, 2022, “Massachusetts

             Institute of Technology researchers developed a method to enable quantum sensors to

             detect any arbitrary frequency, with no loss of their ability to measure nanometer-scale

             features. Quantum sensors detect the most minute variations in magnetic or electrical

             fields, but until now they have only been capable of detecting a few specific

             frequencies, limiting their usefulness” (Source:

             https://www.sciencedaily.com/releases/2022/06/220621184458.htm).

            Plaintiff states that as early as 2015, international leaders were collectively meeting on

             the subject of electromagnetic harassment, “U.S. victims of electromagnetic

             harassment have provided comment to the Presidential Commission for the Study of

             Bioethical Issues (created by President Obama) in March and May 2011 [*][*]. In

             Europe, the Ministry of Defense of Poland conducted a geographical analysis of

             complaints of Polish victims for electromagnetic attacks in 2016,” attached as

             EXHIBIT 4. Similarly, alleged advanced by the DoD, DARPA, USSOCOM including

             SOFWERX, which advanced “They came up with this Kickstarter idea to make this

             tiny UHF radio that you could kind of pin on a backpack or wear in your pocket,” he

             said. “It’s about the size of a large stick of gum maybe, or a small makeup case. “The



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                ultra high frequency radio can connect via Bluetooth to a cell phone and allow radio

                communications over several miles, Andrews said. The company now makes a

                military version that has encryption called the goTennaX” (Source:

                https://www.nationaldefensemagazine.org/articles/2021/5/10/sofwerx-zeros-in-on-

                rapid-acquisition).

        119.    Plaintiff cites the exhaustive body of research on gaming and violence, also associated

 with childhood seasons of angst where isolation can meet depression; the combination creates a

 human vulnerability without benefit of experiential tools to find their way out, they are at times unable

 to navigate. Evidence and data draw into the social sphere, including gaming as the work-around

 during these complex seasons. See The School Shooter: A Threat Assessment Perspective,

 https://www.ojp.gov/ncjrs/virtual-library/abstracts/school-shooter-threat-assessment-perspective and,

 secondarily Examining the effects of emotional and cognitive desensitization to community violence

 exposure in male adolescents of color https://pubmed.ncbi.nlm.nih.gov/27977283/

        120.    Plaintiff analyzed the patent histories as well draws on academic acumen and presents

 the following findings:

               The June 22, 2004 patent serial no. 6,754,472, provides reflection of personal area

                network via intrabody communication signals, published 20 years ago; Peter K. Wang,

                the author closes the summary with, “given the continuing controversy over mobile

                phone radiation, even at such low voltage, the health effects of prolonged exposure to

                electromagnetic fields may be the subject of future concern.”

               The September 2, 2019 patent serial no. US20190267963 provides the “use (of) non-

                shielding through-channel that would allow a magnetic field to access the

                electromagnetic coil from either side of the closed or reverse-closed computing



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                device…patent talk includes the words ‘inductive charging’ circuitry and near field

                communication (“NFC”) circuitry…this wireless charging technology uses an

                electromagnetic field to transfer energy.”

               The May 21, 2002 patent application 10/515,132, Dimitrios Peroulis (Ann Arbor, MI),

                Kamal Sarabandi (Ann Arbor, MI), Linda Katehi (Pass Zionsville, IN) provides, “A

                compact, efficient and electronically tunable antenna is presented. A single-fed

                resonant slot loaded with a series of PIN diode switches constitutes the fundamental

                structure of the antenna. The antenna tuning is real by changing its effective electrical

                length, which is controlled by the bias voltages of the solid-state shunt switches along

                the slot antenna. Although the design is based on a resonant configuration, an effective

                bandwidth of 1.7:1 is obtained through this tuning without requiring a reconfigurable

                matching network. Four resonant frequencies from 540 to 890 MHz are selected in this

                bandwidth and very good matching is achieved for all resonant frequencies” (See:

                https://patents.justia.com/patent/20050174294)

        121.    Plaintiff states unequivocally that the factual origin of the Microsoft foundational

 concepts at the time of its founding were authored by Nikola Tesla, plagiarized by Bill Gates, Paul

 Allen and, thereafter Steve Ballmer.

        122.    Plaintiff states based on the analysis of the broad number of patents, including those

 held by Microsoft, a central actor to the inclusive atrocities and associated sociopathy of the

 determinative actors.

        123.    This analysis, supported by the patent mapping, and the GAO reports which contradict

 Congressional Bills passed, appropriates made by improved incomplete or not started at all. Plaintiff

 predicts an onslaught of roadwork advancing the 2024 election, local, federal and State. The JOSEPH



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 R. BIDEN and KAMALA HARRIS Administration, having failed to meet GAO recommendation by

 ANY Department throughout its term, will expend overtime and manpower in contracts at taxpayer

 expense to commence infrastructure work as a milestone achievement. As with the vaccine and every

 Executive usurpation levied against Donald J. Trump and the Trump Administration, up to and

 including the elections; the infrastructure work is the catalyst to their design of Project Destiny,; to

 control the social movement of civil society.

        124.    The facts provide that wiring conduit will be installed beneath the roadway, within the

 conduit will be implanted microstrip to coplanar waveguide transition and other semiconductor

 embodiments per Linda Katehi’s patent. The foregoing designed to interface with the graphene

 associated with the nanotechnology within the vaccines, hence the recurrent series of boosters. The

 basalt to the extent it is retained by the body and for how long from swab transfer is unknown. Both

 basalt and graphene react to electrical current in different ways. The frequency within the

 infrastructure was designed from three adaptations; the vaccine, the swabbing and independently the

 buried conduit; facts provide that they are intent to install ELF and ULF within that same

 infrastructure, thus ensuring impact and reach.

        1. Ex Antenna System Positioned Within a Support Structure

            Publication number: 20070139291

            Abstract: An antenna system that is positioned within a support structure. The

            antenna system includes at least one antenna that may have one or more antenna

            elements formed on a substrate. The support structure encloses the antenna and

            includes an outer support portion defining a cavity and an inner support portion

            positioned within the cavity. The antenna is positioned within the cavity between the




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            outer support portion and the inner support portion so that the antenna is substantially

            surrounded by air.

        121.    Calling forward the inclusive data, applying the body of patents, it is suggested

 that they were intent of controlling society through the configuration and triangulation of

 frequency. Given their attempted murder and crimes against humanity failing, thank God

 Almighty for Nikola Tesla, the facts provide that with the aid of Microsoft and Microsoft Health

 as well as associated entities, these entities have granularly adapted Nikola Tesla’s model of

 frequency and weaponized it.

        122.    Plaintiff states that the inclusive Defendants have been testing frequency over the

 same course of time as the nuclear warming which we are presently having some meteorological

 experience with. Plaintiff notes that when the Manhattan Project took place, citing Project

 Sunshine and Gabriel thereafter, they had no idea whatever of the human impact of strontium-90;

 that fact would carry over until COVID-19, the recurrent fractures resulting from Tesla’s IP

 plagiarized, they simply took the funding and moved on kicking the can down the road so to

 speak. Today, as a direct consequence of the attentiveness and obedience of Nikola Tesla, they

 now understand that the fracture and the honest work of Nikola Tesla is at risk of disclosure and

 so too the broad fissures and workarounds which they have promulgated upon society, both here

 in the United States and, in fact, all of human creation.

        123.    Plaintiff states that the frequencies in use and accessible by patent held by

 Microsoft and its affiliates, associates and contracted parties, is consistent with fostering and/or

 seeking to cause by excitation of instigation of privately held information in which the target

 party would be influenced to take heinous action, including mass shooting events, suicide and/or

 assassination of another party.



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        124.    Amid the election analyses in New Jersey and more broadly, it was observed that

 Microsoft had, for years, been polling game console users on elections. A review of the

 overarching facts, malevolence and interface with human depravity including foreign nation-

 states, specifically African Nations and Haiti which were used as a test model, Plaintiff states

 unequivocally that Microsoft and Microsoft Health have weaponized frequency, knowing

 precisely to the extent the origin is not compromised by fracture noting that these concepts

 belong to one man, Nikola Tesla. That said, it is unknown the work-around that they applied and

 the impact that it has apart from the origin of design by Nikola Tesla.

        125.    Plaintiff further states, that the frequency in question was accessed and

 weaponized foremost by Sheriff and Scherff Jr. aka Prescott Bush and George H. W. Bush,

 thereafter the CIA. Plaintiff states, without hesitation the murder of John F. Kennedy, Martin

 Luther King Jr. and attempted assassination of Donald John Trump were born of these frequency

 origins.

        126.    The complexity of totality assessment becomes complicated because the analyst

 has no knowledge of the work-around (fracture); the origin of the coil (Tesla); and the granular

 controls. There are significant adverse effects on human beings regarding frequency

 manipulation, adverse to whole health, mental health, reproduction – because our bodies are

 water based, reactive.

        127.    At every juncture and fork in the road where personal choice has been an option,

 the inclusive Defendants have fortified THEIR CAPACITY at the expense of the sovereign

 Rights of the People, maintaining their hierarchical structure with lies and blackmail as leverage

 to that of integrity and public interest all of which the inclusive Defendants have lorded over the




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 People as though His dominion of Trust is solely belonging to them. His Dominion of Trust,

 belongs to no one of Creation but to THE CREATOR. See: John 1:16-19.

                                          IRREPARABLE INJURY

          127.   Facts provide that the Metallurgical Laboratory is in Chicago, Illinois in

 proximity to the DuPont’s headquarters in Wilmington, Delaware; the footprint follows the

 United States Executives with the imposition of God’s hand, sandwiching Donald J. Trump, the

 human accepting of task by the Master – praise Jesus squarely in the middle in the interest of the

 Createds, NEVER stepping away from that capacity, at extraordinary legal and personal expense

 to him and his family. God’s determination at the outset of the foregoing designation is not

 Plaintiff’s testimony, however, the decision made not unlike that of Nikola Tesla was fortified by

 the forensically evaluated facts brought to the Plaintiff through extensive prayer, as provided

 below.

          128.   The build-out commenced in the substrate within government as well within

 physical infrastructure, the tunneling which cannot bear the weight of structured dwelling

 foundations, the farms mask the wicked homage to their gods. Bearing in mind that limited work

 has been completed since Biden/Harris took office, including the Francis Scott Key Bridge.

 They have partnered with cargo ships for years, transporting their fissured “holdings”; the

 Bridge disaster and loss of human lives – inconsequential to the contracts voided by KAMALA

 HARRIS’ actions as “Border Czar” the reverberation of the ship meeting the bridge abutment no

 different than that of planes meeting 1 World Trade.

          129.   Unable to correct the inherent fractures associated at the root foundations of the

 entity, the owners’ workaround default has historically been transactional. Either sale of the

 entity in its entirety, fraudulent inflate the value through creative accounting and more to IPO, or



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 acquire a smaller entity with a viable product to retain marketshare. In nearly all cases, a private

 equity partner is used to buttress the collective with names of such private equity redundant in

 case after case undoubtedly aware of the circumstance while compensated for their effort. In

 cases where viability is no longer an option, the corporate entity moves to market failure, as was

 the case with the residential backed mortgage securities scam and presently the commercial

 backed mortgage securities structure, so too a scam. See: ENRON and WorldCom.

        130.    In each and every one of the subject cases, the loss is felt by the shareholders who

 lose confidence in the market as well when the loss is significant or repeated, they lose

 confidence in the structure of investing altogether. Meanwhile, the corporate entity moves on in

 whatever determination venue from the foregoing.

        131.    In circumstances where an entire market venue become nonviable, unable to

 transaction among its existing peers as it had in the past to buttress the gaps, the bottom falls out

 and the entire United States economy heads into a tailspin, this was precisely the case with the

 Troubled Asset Relief Program. So too is this precisely when Defendant BARACK HUSSEIN

 OBAMA was propelled forward with the help of ACORN and Nadhmi Auchi.

        132.    In the extreme, if the substrates left to their own devices, the entire system would

 implode; this of course was their design – “Project Destiny”. So too is this their reasoning for

 supplanted not another BARACK HUSSEIN OBAMA but an unveiled threshold to Islam,

 transacting not merely our Country and God’s dominion of Trust but the very essence of their

 disdain; God Himself for the mere cost of what they cannot face and which they have fractured

 within themselves. Plaintiff has experiential knowledge specific to these areas, once known all

 things are observed through that fracture, regardless of origin, moreover she has been met by two

 hands that brought forward a new truth born of grace and forgiveness, washed at 7-Presidents



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 Beach and, so too does that water never cease to quench or extinguish the fires set by the

 opposing brokenness. God will not cease His dominion and has made demand that the truth of

 their fracture be brought to account, presented herein for the Honorable Court’s consideration of

 permanent injunctive relief for all Createds.

        133.    Plaintiff states for the Honorable Court’s consideration that there are absolutely

 two parallel realities which the inclusive Defendants have fostered and continue to prop up in

 large part because they are fractured beings themselves, apart from whole human design of God

 and believing, wrongly that they could never again be within His grasp; that relationship is as

 inescapable as the blood that course our veins so too of His hands. None the less the choose to

 believe themselves apart and conduct themselves accordingly.

        134.    A significant number of corporations were arriving at the threshold of design

 termination, to ensure continuum of revenue, they were transacted to foreign enterprise and, facts

 provide, those transacted are recycled, green initiatives, following the very same process, the

 new host nation-state, none the wiser and their investors will follow. The very season and

 threshold in which we as a Nation find ourselves is recurrent precisely because of the human

 stain and fracture, the crevice by which all vulnerability is exposed. Plaintiff has no such

 fracture, and His demand was quite clear; there will be no JP Morgan Chase bailout of the

 Federal Reserve as there was at the turn of the century; his contractual consent resulting in the

 Federal Reserve, a hostage of a Nation. By way of this document and fervent prayer, as a People

 we will face fractures and look to the bottom of the well.

        135.    The Inclusive Defendants have, by autonomous choice – free will, created a dual

 reality built on the adaptation of the capitalist model, employing the fractured Nikola Tesla IP

 attained through Morrill protected lands to extort AMERICAN CITIZEN’S earnings through



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 counterfeit corporate embodiment. There are two primary elements adapted to permit continuity

 of their business replication model that impact the evaluation:

        1. Philanthropy Their adopted harmony allowing access to victims while gaining

            homage from the Createds, morality turned on its head intentionally. Amid their

            jeering faces a void is born, sociopathy, the wage of sin having negated God’s design

            to that of servitude of the ancients, pagan cultures.

        2. Trafficking. The taking of sovereign Createds’ dignity for self-gratification in the

            worship of their gods, evicts moral order, purity, goodness and light from the

            Dominion of Trust, God’s Holy Lands upon which all Createds traverse, they tunnel

            their way for petrol, crude in defilement of the Createds’ natural state.

        136.    Green Infrastructure initiatives (2014 commencing), solar in particular, follows

 the parallel tunneling of trafficking, a mockery above ground to the seed repository, farmland

 recycled while Createds consume Monsanto infused harvest. The solar farms and cell towers

 emit frequency above and below ground, an external control of the God informed DNA intent of

 signal to harm as well to that of healing; the imposition by manmade, controlled frequency,

 divesting from God while holding to false premise that humankind knows better; they do not but

 they cunning among us believe they can somehow game the system. That, of course, attached

 directly to the cell phones/towers. Every cellphone service provider that has been analyzed both

 here in the United States and those associated with Haiti, India and the Caribbean, each shares

 attachment to human trafficking. Affirms that the funds, i.e. donations, went towards building

 the infrastructure of frequency. The chaos that abounds presently is fed/controlled, absolutely.

        137.    Facts provide that the co-Defendants, GEORGE H. W. BUSH, WILLIAM J.

 CLINTON, HILLARY R. CLINTON, HUMA ABEDIN and BARACK HUSSEIN OBAMA, the



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 inclusive parties were heavily involved in Haiti, and the Caribbean projects, publicly displaying

 both fissure areas simultaneously, as designees of the government of these United States, and, by

 extension a composite of her People, and specifically the Plaintiff. Plaintiff states that the

 subject parties participated in all manner of the most disgusting sexual deviance and immoral

 entrapment extending to children.

         138.   Given to their former capacity held within the United States government and the

 present open border, Plaintiff residing in a sanctuary State by unlawful designation of another

 moral reprobate, Plaintiff is now held accountability for the co-Defendants’ collective actions on

 foreign soil which today walks on United States soil, His dominion to that of their playground

 for the morally divested. Accordingly, based on the ongoing litany of compromised

 investigations into their behavior, today, Plaintiff will exercise her Rights to protect her family

 and His dominion by stating the truth in the advocacy of voice which the inclusive Defendants

 sought to extinguish by assassination on July 13, 2024, he who stands in the gap, and John F.

 Kennedy and so too Martin Luther King Jr. and every innocent caught in the crosshairs of the

 political currency exchanged by the co-Defendants in the attempt to remove the Right to bear

 arms.

         139.   Plaintiff states that the exchange between Defendant BARACK HUSSEIN

 OBAMA and Iraqi businessman Nadhmi Auchi, is a mirror image to that of Defendants,

 WILLIAM J. CLINTON and HILLARY R. CLINTON with Marc Rich, these relationships like

 that of their pursuits in Haiti and elsewhere so too having impact on the Plaintiff when by

 financial buttressing, Auchi provided $3.5m to Defendant BARACK HUSSEIN OBAMA in the

 purchase of the Chicago residence, a transaction which he denies. The exchange between Marc

 Rich and Nadhmi Auchi are more nuanced, one having guaranteed the freedom of the former via



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 Defendant, WILLIAM J. CLINTON with the bargaining chip, BARACK HUSSEIN OBAMA, a

 foreign born insurgent who was no less than planted in these United States, a subversive, intent

 of divisiveness and chaos directed by his handlers, identical actions to that Scherff Sr. and Jr.,

 aka Prescott Bush and George H. W. Bush, holding no allegiance to these United States; having

 transacted to Adolph Hitler IP belonging to Nikola Tesla and which was utilized in Germany

 under the Reich leadership as previously stated.

        140.    Auchi, the Defendant BARACK HUSSEIN OBAMA’s handler, is a co-

 conspirator in the March 16, 1988 chemical attack known as the Halabja Massacre that took the

 lives of 5,000 civilians and more than 10,000 Kurds; a massacre that according the Judicial

 record, “was and remains the largest poison gas/chemical weapon attack launched against

 civilians since WWII.” The massacre at the hands of Saddam Hussein with Auchi, holding the

 alias of Nadhmi Shakir Awji, through a shell holding company, General Mediterranean Holding

 (“GMH”), and Kredietbank Luxembourg (successor to Banque Continentale du Luxembourg) are

 among the named Defendants. Auchi formerly served under Hussein as Director of Planning and

 Development of the Iraqi Oil Ministry to Luxembourg; there being no mistake as

 aforementioned, the identical relationship interface to Marc Rich because they were associates,

 facts which Defendant, WILLIAM J. CLINTON, HILLARY R. CLINTON, GEORGE W. BUSH

 and BARACK HUSSEIN OBAMA, among others also had knowledge of the foregoing.

        141.    From the Court record filed on behalf of those murdered, “Saddam Hussein sent

 Auchi to Luxembourg to secretly form the financial network for Saddam Regime black ops in

 Europe, including financing purchases of weapons and advanced technologies…GMH was

 secretly funded by Saddam Hussein” opaque fiscal holdings, the very same as BCCI and the very

 same which funded the political campaign and home purchase of Defendant, BARACK



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 HUSSEIN OBAMA. From the same Court record, “SEPP is the Iraqi State Establishment for

 Pesticide Production that was ‘tasked with producing chemical weapons for the Saddam Regime

 military forces.” Plaintiff states that among the named Defendants is Hamid Dhai Jafar,

 Chairman of Crescent Petroleum. According to CIA records associated with the foregoing

 investigation, Dr. Jafar Dhia Jafar is considered the father of Iraq’s nuclear weapons program and

 was embedded in the weapons of mass destruction programs under Saddam Hussein.

        From the BCCI Affair investigative record:

       …the Countries to which President Carter travelled with Abedi became important banking
        centers for BCCI. In China, for instance, BCCI opened the first foreign branch and
        reportedly conducted weapons transactions involving the Chinese government. (See:
        ECF Doc. 45-1, p. 433)
       An American businessman with extensive ties to Saudi Arabia's royal family contends
        King Fahd was the chief financier of Iran's secret US weapons purchases in 1985 and
        1986. (See: ECF Doc. 45-1, p. 468)
       BCCI and the Atlanta Branch of BNL had an extensive relationship in the United States,
        with the Atlanta Branch of BNL having a substantial number of accounts in BCCI's
        Miami offices. BNL was, according to federal indictments, a significant financial conduit
        for weapons to Iraq. BCCI also made loans to Iraq, although of a substantially smaller
        nature. Given the criminality of both institutions, and their interlocking activities, further
        investigation of the relationship could produce further understanding of Saddam
        Hussein's international network for acquiring weapons, and how Iraq evaded
        governmental restrictions on such weapons acquisitions. (See: ECF Doc. 45-1, p.536)


        142.    Plaintiff states that the continued investigation into the Saddam Hussein activities

 as well the BCCI recommendation did not happen precisely because the participants to the illicit

 criminal behavior were elected to various federal offices, their criminal conduct escalating as the

 facts herein provide.

        143.    Plaintiff seeks to be perfectly clear as to the true cost of the investigative

 compromise in the case of BCCI and all others which led up to the present day, each omitting

 facts which would deliver JUSTICE for the mounting atrocities, instead the prefect designee of

 BCCI 2.0 was alleged to be elected as President of these United, Defendant BARACK

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 HUSSEIN OBAMA. Facts provide his exponentially disdain, increasing have usurped

 unlawfully the auspicious title of President, promoted the kin to Dr. Kevorkian, absent consents

 as facts provide, Dr. James N. Weinstein to the Special Medical Advisory Group in April, 2015 to

 provide advice to the secretary of veteran’s affairs and the undersecretary for health on topics

 pertaining to veterans' healthcare. Dr. Weinstein an alleged esteem spinal surgeon who advised

 the subversive puppet for Pakistan and the United Arab Emirates in advance of our sons and

 daughters being sent to Afghanistan where they would return, God willing, having left their

 limbs, a known sacrifice orchestrated by the aforementioned puppet, having every knowledge of

 what would confront them upon arrival. Their treatment upon return no less disgraceful, made to

 wait for months on end, years in some cases, to be fitted for prosthetics, federal appropriation

 disclosing the unmitigated truth – they hate what resides in the heart of these FINE men and

 women, a love for Country and the freedoms by which their fellow man/woman and child stands

 resolute behind them.

        144.    The negotiation apparatus aforementioned continued with the son of Scherff Jr.,

 Defendant GEORGE W. BUSH elected by leveraging his knowledge secured by his treasonous

 father, coveted for monetary exchange that which belonged to Nikola Tesla became the gateway

 to “Project Destiny” the realization set to formulation under the orchestration of the Economic

 failure of the buttressed Residential Back Mortgage Securities, TARP and SIG TARP. The

 intervening period between 2001 and 2007, the period of the dot-com introduction by way of the

 Carlyle Group, this statement evidenced in the movement of investment history – mergers and

 acquisitions. In May, 2004 acquisition from Verizon of Hawaiian Telcom for $1.6B resulting in

 the company moving to bankruptcy in December, 2008 but not without first forming the

 Hawaiian Telcom Holdco, Inc. transacting to Twin Acquisition Corporation on July 9, 2017,



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 presently operating under Twin Ridge Capital Acquisition. Facts provide that Carlyle and its

 associates, including Glenn Youngkin, the current Governor of Virginia, were disinterested in the

 Hawaiian Telcom but rather the records which it held, records associated with the Defendant,

 BARACK HUSSEIN OBAMA and his family who allegedly resided in Hawaii. The foregoing

 transaction in May, 2004 was followed by the September, 2007, Mubadala Development

 Company, an investment vehicle for the government of the United Arab Emirates, purchasing a

 7.5% stake in the Caryle Group for $1.35B – Plaintiff states the foregoing being no coincidence,

 rather confirmation of BCCI 2.0.

        145.    Plaintiff refers to the vignette of Crescent City Foods and its magnanimous

 history of evolution by merger and acquisition, its original product following the fracture of its

 origin, a plagiarized theft of Nikola Tesla’s IP. The facts move into view of malevolence in the

 analysis of the brilliant mind and writings of Nikola Tesla, wise to the actions of George Scherff

 Sr. and Jr., aka Prescott Bush and George H.W. Bush, Tesla severed his records and private

 writings. Those records which Scherff held and, as facts provide, disseminated globally in the

 enfranchisement of ancient precepts born of the sands and basalt, homage to gods of the inky

 Egyptian history. EACH AND EVERY entity as well the inclusive manufactured products so

 associated, patents plagiarized, are holding to the fractures beheld the hands of George Scherff

 Sr. and George Scheff Jr., aka Prescott Bush and George H.W. Bush, without exception, the

 fractures meet work-around in an attempt to fix that which is unfixable, made untenable and

 invalidated.

        146.    Triad Isotopes, Inc. developed, patented and retains short-lived positron-emitting

 isotope methodologies, patented under Positron Emission Tomography or PET scanning used to




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 assess tissue biochemistry. PET scanning is medicinally applied to assess cancer cells in the

 human body.

        147.    Plaintiff states that the inclusive Defendants, in the company of an extraordinary

 body of those not yet named, have deceived human creation in the alleged cure for cancer to

 facilitate their own wealth building at the expense of human creation, God’s design sacrificed

 that they be permitted venue of practice for their inky ancient god’s while His human creation

 toils on His dominion amid companies whose origins attach to the fornicators, human creations

 jailors and prison guards. Plaintiff, by His hand, the conduit invokes Proverbs 3:27-35,

 “withhold not good rom them to whom it is due, when it in the power of thine hand to do it…the

 curse of the Lord is in the house of the wicked: but He blesseth the habitation of the just…the

 wise shall inherit glory: but shame shall be the promotion of fools.”

        148.    As a matter of record, Triad’s evolution attaches to Covidien and, thereafter to

 Mallinckrodt, they would knowingly introduce opioids into the marketplace commencing with

 the field of sports, and thereafter more broadly, fracturing families, causing God’s human created

 their lives and those whom they were designed to interface in their gift of longevity – stolen by

 the inclusive Defendants having every knowledge of the addictive pharmacological nature of the

 manufactured opioids; they chose to keep their secrets hidden at the cost of an extraordinary

 number of human lives.

        149.    The vignette of God’s hand continues into Medtronic and DeVita after the product

 failure, the termination born of the Tesla fracture resulting from plagiarism, in June, 2019,

 Defendant UNITEDHEALTH GROUP acquired DaVita, despite its history of fraud a matter of

 judicial record. Medronic’s former CEO, Omar Ishrak the former Chairman of INTEL, attaching




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 back to the Tesla fractures of the dot-com bubble birthed of the Carlyle Group and George

 Scherff Jr., aka George H.W. Bush.

        150.    Plaintiff notes that the INTEL 13th and 14th Generation Core ‘Rapter Lake’

 processors remain unstable due to elevated voltage, mechanical issues which appear recurrent

 and a class action suit was filed on July 31, 2024, further evidence of the Tesla fractures.

                                                   RELIEF

        1. Citing the facts herein disclosed, Plaintiff demands the lawfare being waged by Jack

            Smith and all others, immediately be ceased for lack of merit and that the inclusive

            claims made against him be withdrawn.

        1. Citing gross violations of Article 1, Section 4, cl. 1 of the U.S. Constitution, known as

            the Elections Clause, protects States from Federal overreach in and among sovereign

            election end-to-end infrastructure, all and inclusive electronics are to be removed

            from the Federally protected infrastructure, effective immediately, resolving not to the

            federal government but to the People who retain those Rights as scribed in the

            Constitution. A People who are not assured of the security of their elections citing

            those who are entrusted with such security as all parties herein having breached their

            oath of office through treasonous action by the inclusive Defendants; the People

            hereby demand elections be conducted by paper ballots, hand counted, voting on one

            day, first Tuesday in November.

        2. Citing the facts disclosed herein, Plaintiff demands the inclusive Defendants be held

            to the Rule of Law as to their actions for violations of Federally protected elections

            including intimidation under Title 18 § 245(b)(1)(A) of the U.S. Code addresses

            election interference by force or threats. Title 18 § 245(1)(A) imposes penalties on


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          whoever “by force or threat of force willfully injures, intimidates or interferes with,

          or attempts to injure, intimidate or interfere with any person because he is or has

          been, or in order to intimidate such person or any other person or any class of persons

          from” voting or participating in other election activities. Title 18 § 245 (a)(1)

          requires the Attorney General, the Deputy Attorney General, the Associate Attorney

          General, or a specially designated Assistant Attorney General to certify that federal

          prosecution of a case under Section 245(b)(1)(A) is in the public interest and

          necessary to secure substantial justice.

       3. Citing the facts disclosed herein, Plaintiff demands the inclusive Defendants be held

          to the Rule of Law as to their actions for violations to her Civil Rights, violations

          born of an exacting hand, an unlawful trespass of her Rights under Article 1, Section

          4, cl. 1 by the Department of Justice, the Department of Homeland Security, and the

          Executive of these United States; by name, these individual persons, under color of

          law include Defendants, MERRICK GARLAND, ALEXANDRO MAYORKAS and

          JOSEPH R. BIDEN and Kamala Harris.

       4. Citing the facts disclosed herein, Plaintiff demands the inclusive Defendants be held

          to the Rule of Law as to their actions for violations to her Civil Rights, violations

          born of an exacting hand, an unlawful trespass of her Rights under the claim of

          genocide under 18 U.S.C. § 1091(a)(2)(3)(4)(5)(6)(d); Plaintiff claims basic offense

          in time of peace and with the specific intent to destroy, in whole or in substantial part,

          a national, ethnic, racial, or religious group; intent of causing serious bodily injury to

          members of the group; subject the group to conditions of life that are intended to

          cause the physical destruction of the group in whole or in part; imposes measures



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          intended to prevent births within the group; or transfers by force children of the group

          to another group; (d) attempted conspiracy, any person who attempts or conspires to

          commit an offense under this section shall be punished in the same manner as a

          person who completes the offense.

       5. Citing the facts disclosed herein, Plaintiff demands the inclusive Defendants be held

          to the Rule of Law as to their actions for violations to her Civil Rights, violations

          born of an exacting hand, an unlawful trespass of her Rights under The claim of

          crimes against humanity, S. 1346; peonage, involuntary servitude; trafficking persons;

          sex trafficking of children; extermination; measures intended to prevent births as part

          of a widespread and systematic attack against the civilian population, with

          foreknowledge of the attack.

       6. Plaintiff cites the horrific nature and magnitude of Project Destiny, the knowing

          actions resulting in permanent injury, removing the private Rights of a woman,

          regardless of her views and without consent or respect for the living as well those

          whom she might choose to bear in the future, Plaintiff cites extreme mental cruelty

          and seeks damages, Plaintiff seeks:

              a. Awarding Plaintiff compensatory and treble damages, as available, in an

                  amount to be proven at trial;

              b. Award Plaintiff the financial gain earned by Defendants as a consequence of

                  their violations described herein;

              c. Awarding Plaintiff statutory damages, as available;

              d. Awarding Plaintiff punitive damages, as available;




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                e. Issuing a declaration that: inclusive Defendants, according to proof, conspired

                    to and did engage in a common scheme of treason, crimes against humanity,

                    peonage, involuntary servitude; trafficking persons; sex trafficking of

                    children; extermination; measures intended to prevent births as part of a

                    widespread and systematic attack against the civilian population, with

                    foreknowledge of the attack.

        7. Citing the facts disclosed herein, Plaintiff demands the inclusive Defendants be held

            to the Rule of Law as to their actions for violations to her Civil Rights, violations

            born of an exacting hand, an unlawful trespass of her Rights under the claim of

            treason, 18 U.S.C. § 2381; whoever, owing allegiance to the United States, levies war

            against them or adheres to their enemies, giving them aid and comfort within the

            United States and/or elsewhere, is guilty of treason and shall suffer death, fined under

            this title but not less than $10,000.00; and shall be incapable of holding any office in

            the United States.

        8. Issuing an injunctive restraining of the inclusive Defendants and their officers, agents,

            servants, employees, assigns, and those acting in concert or participation with them:

                a. Removal from public office, whether appointed or election; resulting in

                    immediately removal and forfeiture of any severance, retirement or otherwise

                    that would have been due them at the time the Honorable Court hears this

                    matter and decides, or it is heard before by a Jury.

                                  DEMAND FOR JURY TRIAL
        Plaintiff hereby respectfully request a trial by jury for all claims and issues in her

 Complaint to which they are or may be entitled to a jury trial.



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                                               CONCLUSION

                Plaintiff respectfully requests this Honorable Court grant its motion for

 preliminary injunction. Plaintiff prays over the Honorable Court.


                                     CERTIFICATION OF SERVICE

                I HEREBY CERTIFY that I filed today, Friday, August 30, 2024, in accordance

 with Federal Rule of Civil Procedure 11, the foregoing with the Federal Clerk of the Court for

 the United Stated District Court, District of New Jersey, via electronic filing, which will send

 notification of such filing to all parties registered for this case, including the Defendant’s counsel

 via the electronic filing system.



                                                                                /s/ Mary B. Logan
                                                                                Mary Basile Logan
                                                                                Pro-Se Plaintiff




 cc: All Counsel of Record (Via ECF)




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